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                       EXHIBIT 8A
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                               Framework for Individual Economic Loss Claims

Overview
     Individual economic loss claims are claims by Individuals, who shall be defined as (i) Natural Persons
     who (a) satisfy (or whose employers satisfy) the Class Definition and (b) whose losses are not
     excluded from the Class and (ii) who seek compensation for lost earnings from employment due to
     or resulting from the DWH Spill for claims that are not excluded from the Class, with the following
     exceptions:

         1. All Natural Persons (other than Natural Persons addressed in 2, 3 and 4 below) claiming
            losses related to business income required to be reported on Internal Revenue Service Form
            1040 Schedules C, E or F are governed by the Documentation Requirements for Business
            Economic Loss Claims, Causation Requirements for Business Economic Loss Claims, and
            Compensation Framework for Business Economic Loss Claims, or, if appropriate, the Failed
            Business Framework or the Start-up Business Framework, rather than this Framework for
            Individual Economic Loss Claims.1

         2. All Natural Persons claiming losses as an Individual Periodic Vendor (“IPV”) or a Festival
            Vendor are governed by the Addendum to Individuals Framework – IPVs and Festival
            Vendors.2

         3. Claims for lost earnings from employment as a Commercial Fisherman, Seafood Crew,
            Oyster Leaseholder, or Seafood Vessel Owner, all as defined in the Seafood Distribution
            Chain Definitions, shall be compensated through the Seafood Program, rather than this
            Framework for Individual Economic Loss Claims.

         4. Claims by self-employed Natural Persons who satisfy the definition of a Commercial
            Fisherman, Seafood Crew, Oyster Leaseholder, or Seafood Vessel Owner, all as defined in
            the Seafood Distribution Chain Definitions, shall be compensated through the Seafood
            Program, rather than this Framework for Individual Economic Loss Claims.

     As detailed below, Individual compensation for lost earnings is calculated as the difference between
     (i) a claimant’s Expected Earnings for a specified period of time after the DWH Spill and (ii) a
     claimant’s Actual Earnings over the same specified period.3 Each claimant must submit proof of
     earnings during the relevant time periods, as well as specified additional documentation to establish
     that the DWH Spill caused a loss of earnings.
     Under this Framework for Individual Economic Loss Claims, a claimant may recover for lost
     earnings by submitting a sworn Claim Form and supporting documentation (when required)
     establishing that the claimant satisfies the documentation and causation requirements of one of

1
  Words or phrases in Capitalized Bold-face Type are defined terms with the meaning set forth in the “Definitions”
section of this Individual Economic Loss Claim Framework.
2
  The terms IPV and Festival Vendor are defined in the Addendum to Individuals Framework – IPVs and Festival
Vendors.
3
  All damages paid shall be paid on a pre-tax basis with proper Form 1099 or other reporting as required by the IRS.




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     four alternative methodological categories. These categories, which are set forth fully in Sections I-
     IV of this Framework for Individual Economic Loss Claims, are summarized below.4

           I.    INDIVIDUAL CLAIMANTS WITH CONTEMPORANEOUS TAX DOCUMENTS FOR 2010 AND
                 BENCHMARK PERIOD: Applies to Individuals providing Tax Information Documents for
                 2010 and the claimant selected Base Year(s). Requirements detailed in Section I must
                 be fulfilled (Category I, beginning at page 10).

           II.   INDIVIDUAL CLAIMANTS WITH PAY PERIOD OR OTHER EARNINGS DOCUMENTATION
                 FOR 2010 AND BENCHMARK PERIOD: Applies to Individuals without Tax Information
                 Documents but with other contemporaneous documents presenting employment and
                 compensation information for 2010 and the Benchmark Period. Requirements detailed
                 in Section II must be fulfilled (Category II, beginning at page 19).

          III.   INDIVIDUAL CLAIMANTS WITH EARNINGS DOCUMENTATION FOR 2010 BUT WITHOUT
                 COMPARABLE BENCHMARK PERIOD EARNINGS: Applies to Individuals with Tax
                 Information Documents or other contemporaneous documents presenting employment
                 and compensation information for 2010 but without a comparable Benchmark Period.
                 Requirements detailed in Section III must be fulfilled (Category III, beginning at page
                 28).

          IV.    INDIVIDUAL CLAIMANTS WITHOUT EARNINGS DOCUMENTATION WHO SUBMIT
                 INDIVIDUAL AND EMPLOYER SWORN WRITTEN STATEMENTS TO ESTABLISH EARNINGS:
                 Applies to Individuals without any documentary proof but providing Sworn Written
                 Statements (from both the claimant and the employer) presenting employment and
                 compensation information for 2010. Requirements detailed in Section IV must be
                 fulfilled (Category IV, beginning at page 44).

Definitions
       The following defined terms used in this Framework for Individual Economic Loss Claims shall
       have the meanings set forth below and be presented in bold-faced type throughout this
       Framework.

       A. Actual Earnings: Claimant’s income actually earned from the Claiming Job(s) during the
          Compensation Period excluding Spill-Related Payments and employment earnings from the
          VoO program (if any). For purposes of calculating Claimant Lost Earnings, there may be



4
  For purposes of this Framework for Individual Economic Loss Claims, the presumption shall be that the location
of economic loss for the Claiming Job is the location of the claimant’s employer within the Class Definition
geographic area, not the claimant’s residence. Claimants may establish an alternative location of economic loss for
the Claiming Job other than their employer’s location by providing evidence that their primary employment
activities and responsibilities occur in a location different from their employer’s business address, and that the
claimed DWH Spill-related economic loss occurred at such location. For example, the claimant works for a
housekeeping company located in Zone C that services households in Zones A, B and C, including vacation
condominiums located in Zone A, and the claimant establishes that she works primarily in Zone A.

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     adjustments to Actual Earnings pursuant to Step 5 of the Compensation Calculations set forth
     in Categories I, II and III.

  B. Base Year(s): A claimant selected period used for historical comparison and defined as one of
     the following options, provided that once selected, the same Base Year(s) shall be used in this
     Framework for Individual Economic Loss Claims for all purposes for which a Base Year(s) is
     required:
         1. 2009; or
         2. The average of 2008 and 2009; or
         3. The average of 2007, 2008 and 2009.

  C. Benchmark Period: A time period for which a claimant was engaged in a Claiming Job or a
     comparable job (where “comparable” shall mean a job with the same employer, or a job with
     a new employer where the claimant’s earned income changed by less than 20% between
     January 1 – April 30 of the Base Year(s) and January 1 – April 30, 2010), and which a claimant
     chooses for the following:
          1. To establish baseline earnings to be used in calculating the claimant’s Expected
             Earnings.
                  i. For Categories I and II, the Benchmark Period is the time period of at least 90
                     consecutive days within the claimant-selected Base Year(s) that corresponds
                     to the same calendar months and days selected by the claimant as the
                     Compensation Period. In circumstances where the claimant chooses multiple
                     Base Years, the Benchmark Period shall be calculated as the average of the
                     time periods (of at least 90 consecutive days) from each Base Year that
                     correspond to the same calendar months and days selected by the claimant as
                     the Compensation Period.
                  ii. For a claimant in Category III, 2011 Benchmark Period shall be defined as a
                      2011 time period of at least 90 consecutive days that corresponds to the same
                      calendar months and days as the claimant’s selected Compensation Period.
                 iii. If the pay periods fall on different dates in the Benchmark Period or the 2011
                      Benchmark Period, earnings shall be allocated pro-rata to correspond to the
                      dates of the Compensation Period.
                 iv. Examples of Benchmark Period and 2011 Benchmark Period can be seen in
                     Appendices A through F attached hereto.
         AND

         2. If applicable, to establish the baseline historical earnings to be used in calculating the
            Claimant Specific Growth Factor. For this purpose, the Benchmark Period is the
            consecutive pay periods which cover January through April of the claimant-selected
            Base Year(s). In circumstances where the claimant chooses multiple Base Years, the
            Benchmark Period shall be calculated as the average of the corresponding periods
            from each Base Year. Examples can be seen in Appendices A through F attached
            hereto.

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  D. Claimant Lost Earnings: The claimant’s Expected Earnings from all Claiming Jobs minus the
     claimant’s Actual Earnings from all Claiming Jobs during the Compensation Period, minus any
     Offsetting Earnings.

  E. Claimants Without Comparable Benchmark Earnings: Individuals without historical earnings
     comparable to the Compensation Period employment shall use 2011 Benchmark Period
     earnings (if any) to establish Expected Earnings (as described in Category III). Those claimants
     are:
          1. New Entrant To Employment: An Individual (i) who was not employed between
             January 1, 2007 and April 20, 2010, and (ii) who accepted an offer of first-time
             employment in a new job, full or part-time (including but not limited to seasonal
             employment), prior to April 20, 2010, to start working during the period April 21, 2010
             to December 31, 2010, and (iii) whose offer was withdrawn or amended during 2010
             after the DWH Spill.
              For example, if as of April 20, 2010, an Individual who had never been employed had
              received and accepted an offer of employment to begin working between April 21 and
              December 31, 2010, the Individual shall be considered a New Entrant to
              Employment. Similarly, if an Individual had previously engaged in part-time work, but
              as of April 20, 2010 had accepted an offer for his or her first full-time position (or for
              his or her first seasonal employment position) to begin working between April 21 and
              December 31, 2010, the Individual shall also be considered a New Entrant to
              Employment. And, if an Individual had worked prior to 2007, but not between
              January 1, 2007 and April 20, 2010, and had accepted an offer of employment to
              begin working between April 21 and December 31, 2010, the Individual shall be
              considered a New Entrant to Employment.
          2. Claimant Who Had Less Than Twelve Months Of Earnings History But Was Employed
             On April 20, 2010: An Individual with 2010 earnings information who was employed
             on April 20, 2010 but who did not become employed until after April 20, 2009.
          3. Career Changer: An Individual who (i) changed employer(s) and line of work between
             the Benchmark Period and the Compensation Period and (ii) whose earnings during
             the period January 1 - April 30, 2010 changed by more than plus or minus 20%
             compared to their earnings during the period January 1 - April 30 of the Base Year(s).

  F. Claiming Job(s): The job held or secured by the claimant as of April 20, 2010 for which the
     claimant seeks compensation and for which causation requirements under this Framework for
     Individual Economic Loss are satisfied. Any job from which the claimant generated earnings
     during the Benchmark Period and/or the Compensation Period (including Schedule C or F
     activities) and for which the claimant does not seek compensation shall be a Non-Claiming
     Job.

  G. Claims Administrator: The Claims Administrator and related staff appointed pursuant to the
     Economic And Property Damages Settlement Agreement and any Claims Administration
     Vendor operating in the Class Action Settlement Office.



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      H. Compensation Period: The Compensation Period is selected by the claimant. It must include
         90 or more consecutive days between April 21, 2010 and December 31, 2010, except for
         claimants who are in the Primary Seafood Industry5 for which the time period is 90 or more
         consecutive days between April 21, 2010 and April 30, 2011. Claimant can select only one
         Compensation Period, and the Compensation Period must correspond with the pay periods
         used by the employer (i.e., start and end with the standard daily, weekly, or monthly pay
         period used by the employer).6

      I.   Eligible Employer: An employer that (a) filed a claim in the MDL 2179 settlement process and
           established causation according to rules described in Causation Requirements For Business
           Economic Loss Claims or (b) received a compensation offer from the GCCF.

      J.   Employment-Related Benefits Losses: Losses defined in the Addendum Regarding
           Compensation Related to a Claimant’s Loss of Employment-Related Benefits Income as a
           Result of the DWH Spill.

      K. Expected Earnings: Claimant’s earnings in the Compensation Period in the Claiming Job that
         would have been expected in the absence of the DWH Spill.

      L. Final Claimant Compensation: The Final Compensation Amount shall be the amount owed to
         the claimant. For Categories I, II, and III, the Final Compensation Amount shall equal the sum
         of the Claimant Lost Earnings, any applicable RTP, any Employment-Related Benefits Losses,
         any Reimbursable Training Costs, and any Reimbursable Search Costs, less any Spill-Related
         Payments. For Category IV, the Final Compensation Amount shall be the sum of the Claimant
         Lost Earnings and any applicable RTP, less any Spill-Related Payments.

      M. Framework for Individual Economic Loss Claims: This Framework for Individual Economic
         Loss Claims.

      N. Growth Factor: For claimants in Categories I – III only, Growth Factor shall be defined as any
         of the growth-related factors described below that may be applied in the calculation of a
         claimant’s Expected Earnings, where the claimant is eligible, including the Claimant Specific
         Growth Factor or the General Growth Factor, and, if applicable, the Industry Growth Factor.
         Only certain claimants who qualify for compensation pursuant to Categories I, II and III below
         are eligible to receive any applicable factors. Growth Factors are not applicable in Category
         IV.
               1. Claimant Specific Growth Factor: Claimant Specific Growth Factor shall be defined as
                  an individualized Growth Factor for each Claiming Job for which the claimant provides

5
  As used herein, the definitions of Primary Seafood Industry and Secondary Seafood Industry are set forth in the
Seafood Distribution Chain Definitions.
6
  If the claimant has multiple Claiming Jobs which utilize different pay periods, the Compensation Period dates
shall be selected to correspond to pay periods from the position producing greatest earnings. Other wages
(utilizing different pay period schedules), including wages from jobs worked in the Compensation Period for which
lost earnings are not sought (where relevant), shall be allocated pro-rata to the days corresponding to the
Compensation Period. See examples at Appendix C.

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             Pay Period Earnings Documentation. The Claimant Specific Growth Factor shall be
             calculated as the ratio of the claimant’s actual January-April 2010 base earnings
             (including commissions but excluding bonuses) in the Claiming Job divided by actual
             January-April base earnings in the Base Year(s) (including commissions but excluding
             bonuses), provided that if the calculated rate is greater than +10%, the Claimant
             Specific Growth Rate shall be +10%, and if the calculated rate is less than -1.5%, the
             Claimant Specific Growth Rate shall be -1.5%. If the Claimant Specific Growth Factor
             reflects a change of plus or minus 20% and the Individual was employed in a new line
             of work with a new employer, claimant shall be considered a Career Changer and be
             subject to the requirements of Category III: INDIVIDUAL CLAIMANTS WITH EARNINGS
             DOCUMENTATION FOR 2010 BUT WITHOUT COMPARABLE BENCHMARK PERIOD
             EARNINGS.

         2. General Growth Factor: General Growth Factor shall be defined as a Growth Factor
            of 2.0% that shall be assumed and applied for a claimant in Category I or Category II
            who does not provide Pay Period Earnings Documentation or who is a Seasonal
            Employee (and therefore has no Claimant Specific Growth Factor because he or she
            has provided no basis for calculating it). For a claimant in Category III who has 2011
            Benchmark Period earnings, those earnings shall be decreased by the General
            Growth Factor to calculate Expected Earnings. For a Career Changer who does not
            have 2011 earnings information for the 2011 Benchmark Period, the General Growth
            Factor may apply in establishing Expected Earnings pursuant to Category III.

         3. Industry Growth Factor: Industry Growth Factor shall be defined as a Growth Factor
            of 1.5% and may be applied to claimants in Categories I, II and III in certain
            circumstances where the Claiming Job is a non-salaried, hourly wage job in both
            (i) the Compensation Period and (ii) the Benchmark Period or 2011, as relevant.

  O. Offsetting Earnings: Earnings from any Non-Claiming Job(s) during the claimant’s
     Compensation Period in excess of earnings from any Non-Claiming Job(s) during the
     claimant’s Benchmark Period, if any, shall offset Claimant Lost Earnings unless:

         1. If the claimant provides documentation (as described in O.3) establishing that he or
            she worked the same or more total hours at all Claiming Job(s) during the
            Compensation Period (as compared to the Benchmark Period), then (a) no Offsetting
            Earnings shall apply, and (b) to the extent the claimant worked more total hours in all
            Claiming Jobs in the Compensation Period (relative to the Benchmark Period), Actual
            Earnings shall be limited as set forth in Step 5 of the Compensation Calculations set
            forth in Categories I, II and III.

             OR

         2. If the claimant (i) provides documentation (as described in O.3) establishing that he or
            she worked fewer total hours at all Claiming Jobs during the Compensation Period (as
            compared to the Benchmark Period), and (ii) provides evidence as to the number of
            hours worked in a Non-Claiming Job(s) during the Compensation Period and the
            Benchmark Period, then Offsetting Earnings shall be calculated follows:
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                   i. The average hourly rate for the Non-Claiming Job(s) during the Compensation
                      Period, multiplied by the lesser of the following:

                          a. The total number of increased hours worked in the Non-Claiming
                             Job(s) during the Compensation Period above the hours (if any)
                             worked at that job or activity during the claimant’s Benchmark Period
                             (which may be zero); or

                          b. The sum of the total number of hours lost in the Claiming Job(s).

          3. Documentation sufficient to satisfy O.1 and O.2 by establishing the number of hours
             worked (and, if relevant, wage rate) in (a) the Claiming Job(s) and (b) the Non-
             Claiming Job(s) during both (c) the Compensation Period and (d) the Benchmark
             Period (as relevant), includes the following:

                   i. For any Claiming Job or Non-Claiming Job which is paid on an hourly basis,
                      the claimant must provide documentation establishing the number of hours
                      worked for each hourly position and for the relevant period(s).
                      Documentation could include, for example, pay stubs.

                  ii. For non-hourly jobs, the claimant must provide an Employer Sworn Written
                      Statement and any other documentation establishing the number of hours
                      worked for each relevant position and period, including, but not limited to
                      documentation reflecting overtime worked.

                  iii. For any Schedule C or F activity, the claimant must provide a Claimant Sworn
                       Written Statement and all available supporting documentation disclosing the
                       number of hours worked in connection with the identified activity for each of
                       the relevant periods.

  P. One Time, Non-Recurring Event Compensation: If a claimant can establish lost earnings
     income or profit from a Claiming Job due to the cancellation of a contract for a One Time,
     Non-Recurring Event as set forth in the One Time Loss Addendum, the claimant may receive
     additional compensation in accord with One Time Loss Addendum.

  Q. Pay Period Earnings Documentation: Documentation sufficient to establish a claimant’s
     earnings from employment and hours worked during the applicable period(s), including (i) the
     Benchmark Period (relevant for Categories I and II), (ii) January through April of 2010 and the
     Base Year(s), (iii) the Compensation Period (relevant for Categories I through III), and (iv) the
     2011 Benchmark Period (relevant for Category III). Documentation may include:
               Paycheck stubs; and/or
               Other employer records documenting actual amounts paid, if applicable; and/or
               Bank records showing income deposits and supporting documentation indicating
                the source of those deposits; and/or

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              A bank statement or other contemporaneous documentation verifying the absence
               of income for all or part of the Compensation Period; and/or
              Receipts or records from check cashing and payday loan services; and/or
              Contracts for employment accompanied by documentation establishing that wages
               or other amounts to be paid pursuant to the contract, if applicable, were in fact
               paid; and/or
              Pay period earnings detail submitted under oath and included in court filings (for
               example, documentation provided in connection with divorce, child support, or
               wage garnishment proceedings).

  R. Reimbursable Search Costs: Documented travel and job search costs actually incurred after
     April 20, 2010 in searching for alternative employment due to job loss or work reduction after
     the DWH Spill.

  S. Reimbursable Search Cost Documentation: Documents reflecting all amounts incurred for
     Reimbursable Search Costs sought by the claimant.

  T. Reimbursable Training Costs: Training, licensing and educational tuition, fees, and similar
     expenses for courses or programs related to improving job skills or securing alternate
     employment (i.e., education not in pursuit of a two- or four-year degree) in which claimant
     enrolled and participated commencing on or after April 21, 2010 through December 31, 2010
     due to job loss or work reduction after the DWH Spill.

  U. Reimbursable Training Cost Documentation: Documents reflecting all amounts paid for
     Reimbursable Training Costs sought by the claimant, and all certificates, course credits,
     diplomas, or licenses obtained by the claimant based upon the claimant’s completion of such
     training.

  V. Risk Transfer Premium (“RTP”): A factor by which Claimant Lost Income may be multiplied as
     defined and agreed to in the Economic And Property Damages Settlement Agreement.

  W. Seasonal Employee: An Individual with earnings during 6 or fewer consecutive months during
     the Base Year(s) but who was not employed as of April 20, 2010, and who as of that date had
     accepted an offer of employment for a later period in 2010 which subsequently was
     withdrawn or amended during 2010 after the DWH Spill.

  X. Spill-Related Payments: Compensation paid to a claimant by BP or GCCF related to the DWH
     Spill for loss of earnings for the Claiming Job, including (but not limited to) payments made
     pursuant to the BP/GCCF Oil Pollution Act of 1990 (“OPA”) claims facilities.

  Y. Sworn Written Statement: A written statement submitted under penalties of perjury, which
     may be submitted electronically, along with any attachments, but which must be manually
     signed by the person making the statement and reflect such manual signature. In addition,



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           the statement may have a second, electronic signature using an approved technology such as
           (but not limited to) Adobe Echosign.7 A Sworn Written Statement submitted by a claimant is
           a Claimant Sworn Written Statement and a Sworn Written Statement submitted by a
           claimant’s employer is an Employer Sworn Written Statement.

       Z. Tax Information Documents: Tax Returns and Forms W-2 and/or 1099.

       AA. Tax Returns: Federal or state income tax returns, including any relevant supporting
           schedules.

Sworn Claim Form Requirement
     Each claimant must complete and submit a Claim Form which the claimant shall verify under
     penalties of perjury. The Claim Form shall direct the claimant to provide information, including the
     claimant’s chosen Base Year(s) and Compensation Period. The claimant shall attach required
     documents supporting the claim. All statements made in, and documents submitted with, the Claim
     Form may be verified as judged necessary by the Claims Administrator. The claimant shall provide
     forms in which the claimant shall authorize the Claims Administrator to: (1) verify employment and
     obtain copies of wage records, (2) obtain Tax Information Documents from the Internal Revenue
     Service and/or Social Security Administration, and (3) confirm any bank account information used in
     support of a claim, but the authorization for bank records shall be limited to the Benchmark Period
     (or the 2011 Benchmark Period, where relevant) and Compensation Period. The Claim Form may
     be submitted in electronic fashion, including scanning of documents or copies of verification from
     public databases providing the same information as would be provided by the original document.
     The Claim Form and any Sworn Written Statements must be manually signed and reflect such
     manual signature. In addition, the Claim Form and any Sworn Written Statement may have a
     second, electronic signature using an approved technology such as (but not limited to) Adobe
     Echosign.8




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  The parties agree that the signed statement must be as fully enforceable against the maker as a hand-signed
statement. If and to the extent it is determined that an e-signed statement will be so enforceable, then an e-
signed statement alone will suffice.
8
  The parties agree that the signed statement must be as fully enforceable against the maker as a hand-signed
statement. If and to the extent it is determined that an e-signed statement will be so enforceable, then an e-
signed statement alone will suffice.

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I.    CATEGORY I: INDIVIDUAL CLAIMANTS WITH CONTEMPORANEOUS TAX INFORMATION
      DOCUMENTS FOR 2010 AND BENCHMARK PERIOD

         If available, the Individual claimant must provide claimant’s federal or state Tax Returns or
         Forms W-2 and/or 1099 for the Compensation Period and for the Base Year(s).9 In such cases,
         the Individual claimant’s compensation shall be calculated according to this Category I. If Tax
         Returns or Forms W-2 and/or 1099 are not available, the claimant must provide a written
         statement under oath attesting that no Tax Returns are available and attesting that the claimant
         made diligent efforts to obtain Forms W-2 from his or her employer. An Individual claimant
         who is a Career Changer should proceed to Category III. A claimant who lacks Tax Information
         Documents and/or data for a Benchmark Period cannot proceed under this Category I and
         should proceed to Category II, III or IV, as relevant.

      A. Documentation Requirements

         1. Documentation Establishing Employment Earnings: For each year included in the Base
            Year(s), and for 2010, Individual claimants must provide at least one of the following Tax
            Information Documents:
                     Federal tax Form 1040 pages 1 and 2, all pages of Schedules C, E, and F, and any
                      supporting statements attached to the Form 1040 filing (including Form W-2s for
                      joint returns); or
                     State tax return, including any supporting schedules or statements; or
                     Forms W-2 documenting earnings; and/or
                     Forms 1099 documenting earnings.

         2. Documentation Establishing Pay Period Earnings: To the extent available, a claimant must
            provide Pay Period Earnings Documentation for the Benchmark Period and for 2010. A
            claimant also must provide documentation to establish any bonuses and/or commissions
            received during the Benchmark Period and the Compensation Period, as well as bonuses
            and/or commissions received during January or February of the Base Year(s), 2010 and 2011
            for all jobs worked.

             To the extent Pay Period Earnings Documentation is unavailable, the claimant shall so
             indicate in the sworn Claim Form, and earnings shall be treated as earned evenly throughout
             each year.

         3. Documentation Of Earnings From Other Sources During the Compensation Period:
            Claimants must also submit documents sufficient to establish the source(s) and amounts of
            earnings, if any, from other post-DWH Spill sources of income including: (1) Spill-Related

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 If an Individual claimant has not maintained copies of his or her federal income tax returns, he or she shall
request a copy or transcript directly from the IRS. If a claimant has not maintained copies of his or her Forms W-2,
he or she shall request copies directly from the IRS or each employer he or she worked for during the
Compensation Period and the Benchmark Period. A federal Tax Information Document shall be considered
available if it exists and is in the claimant’s possession or has not been requested from the IRS and/or employer.


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       Payments, and (2) compensation received from and hours worked in each employment
       position other than the Claiming Job(s). The types of documents sufficient to satisfy this
       requirement are as follows:
              Forms W-2, paycheck stubs or other employer-provided payroll information; and/or
              Bank records showing income deposits and supporting documentation indicating
               the source of those deposits; and/or
              Documents from BP/GCCF showing payment and BP/GCCF Claim Number; and/or
              Forms 1099; and/or
              Receipts from check cashing services; and/or
              Other documents provided by an employer setting forth for such other employment
               position(s) (i) required hours of work, (ii) actual hours worked by claimant, and (iii)
               compensation rate.

    4. Documentation Establishing Other Costs/Losses: The claimant may also submit
       Reimbursable Training Cost Documentation, Reimbursable Search Cost Documentation,
       and/or documentation regarding Employment-Related Benefits Losses.

    5. Additional Claimant Documentation:
           a. Claimant Employability Documentation: Consists of both:

                  i. A copy of a Social Security card, government-issued identification (for
                     example, a valid driver’s license), temporary worker visa, or green card that
                     was valid as of April 20, 2010 for the claimant, or a print out from a public
                     database providing the same information as would be provided by the original
                     document;

                     AND
                 ii. Evidence the claimant was at least 16 years of age as of April 20, 2010.
                     Acceptable evidence includes a copy of a valid driver’s license, a valid
                     passport, a certified copy of the claimant’s birth certificate, or a print out from
                     a public database providing the same information as would be provided by
                     the original document.

           b. Licensing Documentation: If claimant’s employment requires a government-issued
              license/permit, a copy of valid 2010 and 2011 licenses, if appropriate, or a print out
              from a public database providing the same information as would be provided by the
              original document. Licenses could include, but are not limited to:

                  i. Taxi/livery licenses.
                 ii. Real Estate Sales licenses.
                iii. Other licenses and permits related to income sources.

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                 c. If the claimant’s employment in the Claiming Job was terminated between April 20,
                    2010 and December 31, 2010, the claimant shall have the burden of proof to
                    establish the termination was not for cause. The termination shall be deemed not
                    for cause if:
                       i. The claimant establishes that he or she filed for and received unemployment,
                          including, for example, as evidenced by Form 1099 G.
                           OR
                      ii. Claimant provides a letter from the former employer or an Employer Sworn
                          Written Statement confirming termination was not for cause. Any such letter
                          must include contact information for an authorized representative of the
                          employer.
                           OR
                     iii. Other documentation acceptable to the Claims Administrator that establishes
                          that the claimant was not terminated for cause.

         6. Additional Documentation to Establish Causation Presumptions:
             If the claimant seeks to qualify for a causation presumption as set forth in Sections I.B.1 and
             I.B.2.a, the claimant must provide documentation for 2010 to establish that the claimant or
             the claimant’s employer satisfies (or satisfied) the geographic requirements and/or the
             definition of an entity or Natural Person included in the Primary Seafood Industry,
             Secondary Seafood Industry, Tourism,10 or Charter Fishing11 as applicable. To satisfy this
             requirement, the claimant must demonstrate the employer’s location and the following:
                 a. That the claimant works or worked for an employer that filed a claim in the MDL
                    No. 2179 settlement process and was determined by the Claims Administrator to
                    satisfy one of the above-listed definitions;
                      OR
                 b. That the claimant’s Tax Information Documents, Pay Period Earnings
                    Documentation, or other documentation establishes that the claimant’s employer
                    satisfies one of the above-listed definitions.

      B. Causation Requirements

         In order to establish causation under this Category I, a claimant must satisfy the following:

         1. The claimant must have been employed in the Claiming Job on April 20, 2010, unless the
            claimant is a Seasonal Employee who can provide evidence of historical seasonal
            employment beginning after April 20 in the Base Year(s).

10
  The definition of Tourism is set forth in the Tourism Definition, Bates 026632 - 026646.
11
  The definition of Charter Fishing is set forth in Definitions Section 38 of the Deepwater Horizon Economic and
Property Damages Settlement Agreement.

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         2. The claimant must satisfy one of the following:

                 a. Individual Claimants With Presumed Causation: The DWH Spill shall be presumed
                    to be the cause of lost earnings for a Claiming Job during the Compensation Period
                    for the following categories of claimants who submit the required documentation,
                    provided that the claimant can demonstrate that any loss of income or employment
                    related to the Claiming Job was not a function of the claimant’s termination for
                    cause pursuant to the Documentation Requirements set forth in Section I.A.5.c:
                         i. If a claimant is an Individual seeking compensation for an economic loss
                            relating to employment within Zone A,12 the claimant is not required to
                            provide any evidence of causation relating to that Claiming Job.
                        ii. If a claimant is an individual seeking compensation for an economic loss for a
                            job in which he or she was employed by, or exclusively serviced, an entity or
                            Natural Person that satisfies the Primary Seafood Industry definition as set
                            forth in the Seafood Distribution Chain Definitions, the claimant is not
                            required to provide any evidence of causation relating to that Claiming Job.
                        iii. If a claimant is an individual seeking compensation for an economic loss for a
                             job in which he or she was employed by an entity or Natural Person that
                             satisfies the Secondary Seafood Industry definition as set forth in the Seafood
                             Distribution Chain Definitions, and the entity or Natural Person was located
                             in Zones B or C, the claimant is not required to provide any evidence of
                             causation relating to that Claiming Job.
                        iv. If the claimant is an Individual seeking compensation for an economic loss for
                            a job in which he or she was employed by a business located in Zone B that
                            meets the definition of Tourism, the claimant is not required to provide any
                            evidence of causation relating to that Claiming Job.

                        v. If the claimant is an Individual seeking compensation for an economic loss for
                           a job in which he or she was employed by an entity or Natural Person that
                           satisfies the definition of Charter Fishing, and the Charter Fishing business
                           was located in Zones A, B or C, the claimant is not required to provide any
                           evidence of causation relating to that Claiming Job.




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  For purposes of this Framework for Individual Economic Loss Claims, the presumption shall be that the location
of economic loss for the Claiming Job is the location of the claimant’s employer within the Class Definition
geographic area, not the claimant’s residence. Claimants may establish an alternative location of economic loss for
the Claiming Job other than their employer’s location by providing evidence that their primary employment
activities and responsibilities occur in a location different from their employer’s business address, and that the
claimed DWH Spill-related economic loss occurred at such location. For example, the claimant works for a
housekeeping company located in Zone C that services households in Zones A, B and C, including vacation
condominiums located in Zone A, and the claimant establishes that she works primarily in Zone A.

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           OR

           b. Individual Claimants Without Presumed Causation: If a claimant is not entitled to a
              causation presumption as set forth in Section I.B.2.a, the claimant can establish
              causation for a Claiming Job during the Compensation Period only by satisfying the
              requirements of one of the following sub-sections:
                  i. Causation is established if the Claiming Job is with an Eligible Employer. The
                     Claims Administrator shall verify that the employer is an Eligible Employer.
                  ii. Causation for a Claiming Job is established if the claimant provides an
                      Employer Sworn Written Statement attributing the claimant’s loss of income
                      during the Compensation Period to the DWH Spill. The Employer Sworn
                      Written Statement must articulate in detail how the claimant’s losses at the
                      Claiming Job are causally related to the DWH Spill. Such Employer Sworn
                      Written Statement must also include contact information for an authorized
                      representative of the employer.
                 iii. The Claims Administrator shall evaluate the credibility and reliability of the
                      information provided by the employer and the claimant, including any Sworn
                      Written Statements, and have the right to request supplemental
                      documentation and/or to interview the employer in accordance with the
                      Addendum Regarding Interviews of Claimant Alleging Economic Loss.

 C. Compensation Calculation
    The Claims Administrator shall use Tax Information Documents and other supporting
    documentation provided by the claimant to calculate the Claimant Lost Earnings. As set forth in
    the steps below, Claimant Lost Earnings includes: (1) any reduction in earnings between the
    Compensation Period and the Benchmark Period for each Claiming Job, plus (2) any lost
    potential earnings growth expected for each Claiming Job in the absence of the DWH Spill,
    minus (3) any Offsetting Earnings. Lost potential earnings growth expected for each Claiming
    Job shall be determined through application of (a) a Claimant Specific Growth Factor, or (b) a
    General Growth Factor; in addition, for claims based on non-salaried, hourly-wage jobs, an
    Industry Growth Factor is applied.
    The claimant shall receive a lump-sum final payment that includes compensation for Claimant
    Lost Earnings, plus any applicable RTP agreed upon by the parties, plus compensation for
    properly documented Employment-Related Benefits Losses, Reimbursable Training Costs and
    Reimbursable Search Costs, or One Time, Non-Recurring Event Commission Compensation, if
    any, less any Spill-Related Payments.

    Example compensation calculations are set forth in Appendices A through F attached hereto.

    Step 1: Claimant Selects Compensation Period and Benchmark Period
        1. Claimant selects a Compensation Period. For a claimant who (i) was terminated for
           cause in 2010 from the Claiming Job(s), or (ii) otherwise ended employment at the

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            Claiming Job(s) in 2010 for reasons unrelated to the DWH Spill, the Compensation
            Period may not extend beyond the termination date.
        2. Claimant selects a Base Year(s).

    Step 2: Determine Benchmark Period Earnings for the Months Corresponding to the
    Compensation Period
    Earnings during the Benchmark Period months (as evidenced by Tax Information Documents)
    shall include earned income from each Claiming Job (or comparable job) and shall be assumed
    to have been earned evenly throughout the year unless the claimant provides Pay Period
    Earnings Documentation sufficient to establish actual earnings distribution throughout the year.
    All bonuses and/or commissions shall be allocated pro rata across the period for which they
    were awarded, and annual performance bonuses paid in January and February shall be assumed
    to relate to the prior calendar year, unless the documents establish that the bonus related to a
    specific period of time.

    Step 3: Determine Earnings Growth Factor(s)
        1. Claimant Specific Growth Factor: For claimants who provide Pay Period Earnings
           Documentation sufficient to calculate a Claimant Specific Growth Factor, the following
           Growth Factors may apply:
            a. Claimant Specific Growth Factor is defined, and the calculation is explained, in
               Definitions Section N.1.
            b. Industry Growth Factor is defined in Definitions Section N.3.

        2. Claimants for Whom Claimant Specific Growth Factor Is Not Applicable: For claimants
           unable to provide Pay Period Earnings Documentation sufficient to calculate a Claimant
           Specific Growth Factor and for Seasonal Employees, no Claimant Specific Growth
           Factor shall apply. Instead, the following Growth Factors may apply:
            a. General Growth Factor is defined in Definitions Section N.2 and is 2.0%.
            b. Industry Growth Factor is defined in Definitions Section N.3: For claims based on
               non-salaried, hourly-wage jobs, an Industry Growth Factor of 1.5% shall be applied.

    Step 4: Calculate Expected Earnings
        Expected Earnings equal the Benchmark Period earnings calculated in Step 2 increased by
        the applicable Growth Factors (from Step 3).
        Expected Earnings = Benchmark Period Earnings from Step 2 x (1 + applicable Step 3 Growth
                                            Factor(s))



    Step 5: Determine Actual Earnings and Any Offsetting Earnings In The Compensation Period
        Actual Earnings for all Claiming Jobs and any applicable Offsetting Earnings during the
        Compensation Period shall be determined based on Tax Information Documents and Pay
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       Period Earnings Documentation provided by the claimant and other documentation
       relevant to determining Offsetting Earnings.

       To the extent the claimant does not have Pay Period Earnings Documentation for a
       Claiming Job, Actual Earnings during the Compensation Period shall be estimated for that
       Claiming Job by dividing the claimant’s total 2010 Claiming Job earnings by 12 and
       multiplying that amount by the number of months in the Compensation Period. All bonuses
       and/or commissions shall be allocated pro rata across the periods for which they were
       awarded, and annual performance bonuses paid in January and February shall be assumed
       to relate to the prior calendar year, unless the documents establish that the bonus related
       to a specific period of time.

       Offsetting Earnings and Actual Earnings from all Claiming Jobs shall be calculated giving
       consideration to all Claiming Jobs, provided that:

       1. If the claimant has only one Claiming Job, then:

               i. If Pay Period Earnings Documentation (or other documentation relevant to
                  calculating Offsetting Earnings) reflects the same or an increased number of
                  hours worked at the Claiming Job in the Compensation Period relative to the
                  Claiming Job (or comparable job) in the Benchmark Period, Actual Earnings
                  shall be limited to earnings from the Claiming Job (or comparable job) over the
                  same total number of hours worked in the Benchmark Period, and no
                  Offsetting Earnings shall apply.

                   OR

               ii. If Pay Period Earnings Documentation (or other documentation) (i) reflects a
                   decrease in hours worked at the Claiming Job during the Compensation Period,
                   and (ii) the claimant’s Pay Period Earnings Documentation reflects additional
                   hours worked at a Non-Claiming Job (whether such Non-Claiming Job was held
                   in the Benchmark Period or is a new position), Offsetting Earnings shall be
                   calculated and factored into the determination of Claimant Lost Earnings.

       2. If the claimant has more than one Claiming Job, then:

               i. If Pay Period Earnings Documentation (or other documentation relevant to
                  calculating Offsetting Earnings) for all Claiming Jobs reflects the same or an
                  increased number of total hours worked across all Claiming Jobs during the
                  Compensation Period (relative to all Claiming Jobs (or comparable jobs) in the
                  Benchmark Period), aggregate Actual Earnings in the Compensation Period
                  shall be limited to total earnings from all Claiming Jobs (or comparable jobs)
                  over the same number of total hours worked in the Benchmark Period,
                  provided that earnings from hours lost in one Claiming Job shall be replaced by
                  earnings from the same number of hours worked in a different Claiming Job
                  during the Compensation Period. No Offsetting Earnings shall apply.


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                   OR

                ii. If Pay Period Earnings Documentation (or other documentation relevant to
                    calculating Offsetting Earnings) for all Claiming Jobs reflects (i) fewer total
                    hours worked across all Claiming Jobs during the Compensation Period (relative
                    to all Claiming Jobs (or comparable jobs) in the Benchmark Period), but (ii)
                    more hours worked in one (or more) Claiming Job(s) in the Compensation
                    Period (relative to the same Claiming Job(s) in the Benchmark Period),
                    aggregate Actual Earnings in the Compensation Period shall include total
                    earnings from all Claiming Jobs (or comparable jobs) in the Compensation
                    Period. If the claimant’s Pay Period Earnings Documentation also reflects
                    additional hours worked at a different (Non-Claiming Job) position (whether
                    such position was held in the Benchmark Period or is a new position), Offsetting
                    Earnings shall be calculated and factored into the determination of Claimant
                    Lost Earnings for the number of hours representing the difference between (a)
                    total hours worked in all Claiming Jobs in the Compensation Period, and (b)
                    total hours worked in all Claiming Jobs in the Benchmark Period.

                   OR

               iii. If Pay Period Earnings Documentation (or other documentation) for all Claiming
                    Jobs (i) reflects a decrease in hours worked at each Claiming Job during the
                    Compensation Period, and (ii) the claimant’s Pay Period Earnings
                    Documentation reflects additional hours worked at a different position
                    (whether such position was held in the Benchmark Period or is a new position),
                    Offsetting Earnings shall be calculated and factored into the determination of
                    Claimant Lost Earnings for the total lost hours.

                   OR

               iv. If the claimant does not have Pay Period Earnings Documentation (or other
                   documentation establishing hours worked) for all Claiming Jobs, then Actual
                   Earnings shall include all earnings from all Claiming Jobs and Offsetting
                   Earnings shall apply.

    Step 6: Determine Claimant Lost Earnings
       Claimant Lost Earnings shall be calculated as (a) the difference between (i) the claimant’s
       Expected Earnings during the Compensation Period (Step 4) from all Claiming Jobs and
       (ii) the claimant’s Actual Earnings during the Compensation Period, as adjusted, if relevant,
       (Step 5) from all Claiming Jobs, reduced by (b) any applicable Offsetting Earnings.


    Step 7: Calculate Final Claimant Compensation
    Final Claimant Compensation shall be Claimant Lost Earnings (Step 6) adjusted as follows:
       1. Add any applicable RTP agreed to by the parties. For an employee terminated for cause
          from a Claiming Job, no RTP shall apply.
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            -   For claimants whose Claimant Lost Earnings result from more than one Claiming
                Job, the claimant’s applicable RTP shall be calculated based on (i) the percentage of
                total Claimant Lost Earnings related to each Claiming Job, multiplied by (ii) the RTP
                applicable to each Claiming Job, which is determined by the job type
                (Tourism/Other Industries) and zone (Zone A, B, C or D). For example, a claimant
                with 50% of their lost earnings from a job Zone A hotel, and 50% of their lost
                earnings from a job in a Zone C restaurant shall receive an RTP that is calculated as
                follows:
                            Applicable RTP = .5*RTPZone A Tourism (hotel) + .5*RTPZone C Tourism (restaurant)
       2. Add any Reimbursable Training Costs. Reimbursable Training Costs shall be fully
          reimbursed if the training led directly to earned income in 2010. If no corresponding
          income was earned in 2010, then Reimbursable Training Costs shall be reimbursed up
          to $2,000.
                For example: A claimant who paid $3,000 after April 20, 2010 to secure a
                commercial trucking license and who earned income as a commercial trucker in
                2010 shall receive $3,000 in reimbursement. If the claimant earned no income from
                commercial trucking during 2010, the claimant would receive a $2,000
                reimbursement.
       3. Add any Reimbursable Search Costs.
       4. Add any applicable Employment-Related Benefits Losses.
       5.   Add any One Time, Non-Recurring Event Compensation.
       6. Subtract any Spill-Related Payments.
       7. The formula for Final Claimant Compensation is:
                            Claimant Lost Earnings
                    +       (Claimant Lost Earnings x any applicable RTP)
                    +       Employment-Related Benefits Losses (if applicable)
                    +       Reimbursable Training Costs (full if led to earned income in 2010 from
                            area of training, otherwise $2,000) (if applicable)
                    +       Reimbursable Search Costs (if applicable)
                    +       One Time, Non-Recurring Event Compensation (if applicable)
                    -       Spill-Related Payments (if applicable)
                    -       VoO Settlement Offset and/or VoO Earned Income Offset (if any)




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II. CATEGORY II: INDIVIDUAL CLAIMANTS WITH PAY PERIOD OR OTHER EARNINGS
    DOCUMENTATION FOR 2010 AND BENCHMARK PERIOD13

         Individual claimants who do not have Tax Information Documents available for either 2010 or
         the Base Year(s) may instead provide Pay Period Earnings Documentation sufficient to establish
         earnings during the Compensation Period and the Benchmark Period. Such Individual
         claimants must provide a written statement under oath attesting that no Tax Returns are
         available and attesting that the claimant made diligent efforts to obtain Forms W-2 from his or
         her employer and stating that they are not available. An Individual claimant who is a Career
         Changer should proceed to Category III. An Individual claimant who lacks Tax Information
         Documents and Pay Period Earnings Documentation for the Benchmark Period and/or 2010
         must so state in the sworn Claim Form. In such circumstances, claimant cannot proceed under
         this Category II and should proceed to Category III or IV to the extent the claimant qualifies
         under any such Category.

      A. Documentation Requirements

         1. Documentation Establishing Employment Earnings: To the extent available, the claimant
            must provide Pay Period Earnings Documentation for the Benchmark Period and for 2010.
            Where incomplete Pay Period Earnings Documentation is provided, Expected Earnings and
            Actual Earnings shall be calculated based only on the actual documentation provided. A
            claimant also must provide documentation to establish any bonuses and/or commissions
            received during the Benchmark Period and the Compensation Period, as well as bonuses
            and/or commissions received during January or February of the Base Year(s), 2010 and 2011
            for all jobs worked.
         2. Documentation Of Earnings From Other Sources During the Compensation Period:
            Claimants must also submit documents sufficient to establish the source(s) and amounts of
            earnings, if any, from other post-DWH Spill sources of income including: (1) Spill-Related
            Payments, and (2) compensation received from and hours worked in each employment
            position other than the Claiming Job(s). The types of documents sufficient to satisfy this
            requirement are as follows:
                   Forms W-2, paycheck stubs or other employer-provided payroll information; and/or
                   Bank records showing income deposits and supporting documentation indicating
                    the source of those deposits; and/or
                   Document from BP/GCCF showing payment and BP/GCCF Claim Number; and/or
                   Forms 1099; and/or
                   Receipts from check cashing services; and/or
                   Other documents provided by an employer setting forth for such other employment
                    position(s) (i) required hours of work, (ii) actual hours worked by claimant, and
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  A claimant who has no job earnings from any Benchmark Period may not proceed under Category II but should
proceed to Category III as a potential New Entrant To Employment or Claimant Who Had Less Than Twelve
Months Of Earnings History But Was Employed On April 20, 2010, or to Category IV, as relevant.

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               (iii) compensation rate.

    3. Documentation Establishing Other Costs/Losses: The claimant may also submit
       Reimbursable Training Cost Documentation, Reimbursable Search Cost Documentation,
       and/or documentation regarding Employment-Related Benefits Losses.
    4. Additional Claimant Documentation

       a. Claimant Employability Documentation: Consists of both:
               i.     A copy of a Social Security card, government-issued identification (for example,
                      a valid driver’s license), temporary worker visa, or green card that was valid as
                      of April 20, 2010 for the claimant, or a print out from a public database
                      providing the same information as would be provided by the original document;

                      AND

               ii. Evidence the claimant was at least 16 years of age as of April 20, 2010.
                   Acceptable evidence includes a copy of a valid driver’s license, a valid passport,
                   a certified copy of the claimant’s birth certificate, or a print out from a public
                   database providing the same information as would be provided by the original
                   document.

       b. Licensing Documentation: If claimant’s employment requires a government-issued
          license/permit, a copy of valid 2010 and 2011 licenses, if appropriate, or a print out
          from a public database providing the same information as would be provided by the
          original document. Licenses could include, but are not limited to:
                   i. Taxi/livery licenses.
                   ii. Real Estate Sales licenses.
               iii. Other licenses and permits related to income sources.

       c. If the claimant’s employment in the Claiming Job was terminated between April 20,
          2010 and December 31, 2010, the claimant shall have the burden of proof to establish
          the termination was not for cause. The termination shall be deemed not for cause if:
                   i. The claimant establishes that he or she filed for and received unemployment,
                      including, for example, as evidenced by Form 1099 G.
                      OR
                   ii. Claimant provides a letter from the former employer or an Employer Sworn
                       Written Statement confirming termination was not for cause. Any such letter
                       must include contact information for an authorized representative of the
                       employer.
                      OR
            iii.      Other documentation acceptable to the Claims Administrator that establishes
                      that the claimant was not terminated for cause.

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         5. Additional Documentation to Establish Causation Presumptions:
             If the claimant seeks to qualify for a causation presumption as set forth in Sections II.B.1 and
             II.B.2.a, the claimant must provide documentation for 2010 to establish that the claimant or
             the claimant’s employer satisfies (or satisfied) the geographic requirements and/or the
             definition of an entity or Natural Person included in the Primary Seafood Industry,
             Secondary Seafood Industry, Tourism,14 or Charter Fishing15 as applicable. To satisfy this
             requirement, the claimant must demonstrate the employer’s location and the following:
                 a. That the claimant works or worked for an employer that filed a claim in the MDL
                    No. 2179 settlement process and was determined by the Claims Administrator to
                    satisfy one of the above-listed definitions;
                      OR
                 b. That the claimant’s Tax Information Documents, Pay Period Earnings
                    Documentation, or other documentation establishes that the claimant’s employer
                    satisfies one of the above-listed definitions.

      B. Causation Requirements
         In order to establish causation under this Category II, a claimant must satisfy the following:

         1. The claimant must have been employed in the Claiming Job on April 20, 2010, unless the
            claimant is a Seasonal Employee who can provide evidence of historical seasonal
            employment beginning after April 20 in the Base Year(s).

         2. The claimant must satisfy one of the following:

                 a. Individual Claimants With Presumed Causation: The DWH Spill shall be presumed
                    to be the cause of lost earnings for a Claiming Job during the Compensation Period
                    for the following categories of claimants who submit the required documentation,
                    provided that the claimant can demonstrate that any loss of income or employment
                    related to the Claiming Job was not a function of the claimant’s termination for
                    cause pursuant to the Documentation Requirements set forth in Section II.A.4.c:
                         i. If a claimant is an Individual seeking compensation for an economic loss
                            relating to employment within Zone A,16 the claimant is not required to
                            provide any evidence of causation relating to that Claiming Job.

14
   The definition of Tourism is set forth in the Tourism Definition, Bates 026632 - 026646.
15
   The definition of Charter Fishing is set forth in Definitions Section 38 of the Deepwater Horizon Economic and
Property Damages Settlement Agreement.
16
   For purposes of this Framework for Individual Economic Loss Claims, the presumption shall be that the location
of economic loss for the Claiming Job is the location of the claimant’s employer within the Class Definition
geographic area, not the claimant’s residence. Claimants may establish an alternative location of economic loss for
the Claiming Job other than their employer’s location by providing evidence that their primary employment
activities and responsibilities occur in a location different from their employer’s business address, and that the
claimed DWH Spill-related economic loss occurred at such location. For example, the claimant works for a

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                        ii. If a claimant is an individual seeking compensation for an economic loss for a
                            job in which he or she was employed by, or exclusively serviced, an entity or
                            Natural Person that satisfies the Primary Seafood Industry definition as set
                            forth in the Seafood Distribution Chain Definitions, the claimant is not
                            required to provide any evidence of causation relating to that Claiming Job.
                       iii. If a claimant is an individual seeking compensation for an economic loss for a
                            job in which he or she was employed by an entity or Natural Person that
                            satisfies the Secondary Seafood Industry definition as set forth in the Seafood
                            Distribution Chain Definitions, and the entity or Natural Person was located
                            in Zones B or C, the claimant is not required to provide any evidence of
                            causation relating to that Claiming Job.
                       iv. If the claimant is an Individual seeking compensation for an economic loss for
                           a job in which he or she was employed by a business located in Zone B that
                           meets the definition of Tourism, the claimant is not required to provide any
                           evidence of causation relating to that Claiming Job.

                        v. If the claimant is an Individual seeking compensation for an economic loss for
                           a job in which he or she was employed by an entity or Natural Person that
                           satisfies the definition of Charter Fishing, and the Charter Fishing business
                           was located in Zones A, B or C, the claimant is not required to provide any
                           evidence of causation relating to that Claiming Job.

                 OR

                 b. Individual Claimants Without Presumed Causation: If a claimant is not entitled to a
                    causation presumption as set forth in Section II.B.2.a, the claimant can establish
                    causation for a Claiming Job during the Compensation Period only by satisfying the
                    requirements of one of the following sub-sections:
                        i. Causation is established if the Claiming Job is with an Eligible Employer. The
                           Claims Administrator shall verify that the employer is an Eligible Employer.
                        ii. Causation for a Claiming Job is established if the claimant provides an
                            Employer Sworn Written Statement attributing the claimant’s loss of income
                            during the Compensation Period to the DWH Spill. The Employer Sworn
                            Written Statement must articulate in detail how the claimant’s losses at the
                            Claiming Job are causally related to the DWH Spill. Such Employer Sworn
                            Written Statement must also include contact information for an authorized
                            representative of the employer.
                       iii. The Claims Administrator shall evaluate the credibility and reliability of the
                            information provided by the employer and the claimant, including any Sworn
                            Written Statements, and have the right to request supplemental



housekeeping company located in Zone C that services households in Zones A, B and C, including vacation
condominiums located in Zone A, and the claimant establishes that she works primarily in Zone A.

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                      documentation and/or to interview the employer in accordance with the
                      Addendum Regarding Interviews of Claimant Alleging Economic Loss.

 C. Compensation Calculation
    The Claims Administrator shall use Pay Period Earnings Documentation or annual employer-
    provided payroll information submitted by the claimant pursuant to Section II.A, and other
    supporting documentation provided by the claimant, to calculate the Claimant Lost Earnings.
    As set forth in the steps below, Claimant Lost Earnings includes: (1) any reduction in earnings
    between the Compensation Period and the Benchmark Period for each Claiming Job, plus
    (2) any lost potential earnings growth expected for each Claiming Job in the absence of the
    DWH Spill, minus (3) any Offsetting Earnings. Lost potential earnings growth expected for each
    Claiming Job shall be determined through application of (a) a Claimant Specific Growth Factor,
    or (b) a General Growth Factor; in addition, for claims based on non-salaried, hourly-wage jobs,
    an Industry Growth Factor is applied.
    The claimant shall receive a lump-sum final payment that includes compensation for Claimant
    Lost Earnings, plus any applicable RTP agreed upon by the parties, plus compensation for
    properly documented Employment-Related Benefits Losses, Reimbursable Training Costs and
    Reimbursable Search Costs, or One Time, Non-Recurring Event Commission Compensation, if
    any, less any Spill-Related Payments.

    Example compensation calculations are set forth in Appendices A through F attached hereto.

    Step 1: Claimant Selects Compensation Period and Benchmark Period

        1. Claimant selects a Compensation Period. For a claimant who (i) was terminated for
           cause in 2010 from the Claiming Job(s), or (ii) otherwise ended employment at the
           Claiming Job(s) in 2010 for reasons unrelated to the DWH Spill, the Compensation
           Period may not extend beyond the termination date.

        2. Claimant selects a Base Year(s).

    Step 2: Determine Benchmark Period Earnings for the Months Corresponding to the
    Compensation Period
        Earnings during the Benchmark Period shall be established on the basis of Pay Period
        Earnings Documentation and shall include earned income from each Claiming Job (or
        comparable job). The specific determination of earnings for the Benchmark Period shall
        depend on the nature and extent of the Pay Period Earnings Documentation provided. For
        example, if the claimant submits Pay Period Earnings Documentation that covers only
        discrete portions of a given calendar year (e.g., employee commission statements from May
        2009 and December 2009), the Claims Administrator shall base the Benchmark Period
        earnings only on the actual documentation provided (i.e., data shall not be extrapolated to
        periods for which Pay Period Earnings Documentation was not provided).
        If the claimant submits Pay Period Earnings Documentation that provides data as to full
        year earnings but not the allocation of those earnings (i.e., a year-end paystub), and if the
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       claimant also provides additional Pay Period Earnings Documentation deemed by the
       Claims Administrator to be sufficient for purposes of allocating those earnings across the
       relevant period, earnings shall be allocated accordingly. If no additional information is
       provided regarding the allocation of those earnings, the Claims Administrator shall assume
       a pro rata distribution over the relevant period.
       All bonuses and/or commissions shall be allocated pro rata across the period for which they
       were awarded, and annual performance bonuses paid in January and February shall be
       assumed to relate to the prior calendar year, unless the documents establish that the bonus
       related to a specific period of time.

    Step 3: Determine Earnings Growth Factor(s)
       1. Claimant Specific Growth Factor: For claimants who provide Pay Period Earnings
          Documentation sufficient to calculate a Claimant Specific Growth Factor, the following
          Growth Factors may apply:
           a. Claimant Specific Growth Factor is defined, and the calculation is explained, in
              Definitions Section N.1).
           b. Industry Growth Factor is defined in Definitions Section N.3.

       2. Claimants for Whom Claimant Specific Growth Factor Is Not Applicable: For claimants
          unable to provide Pay Period Earnings Documentation sufficient to calculate a Claimant
          Specific Growth Factor and for Seasonal Employees, no Claimant Specific Growth
          Factor shall apply. Instead, the following Growth Factors may apply:
           a. General Growth Factor is defined in Definitions Section N.2 and is 2.0%.
           b. Industry Growth Factor is defined in Definitions Section N.3: For claims based on
              non-salaried, hourly-wage jobs, an Industry Growth Factor of 1.5% shall be applied.

    Step 4: Calculate Expected Earnings
       Expected Earnings equal the Benchmark Period earnings calculated in Step 2 increased by
       the applicable Growth Factors (from Step 3).
        Expected Earnings = Benchmark Period Earnings from Step 2 x (1 + applicable Step 3 Growth
                                            Factor(s))

    Step 5: Determine Actual Earnings and Any Offsetting Earnings In The Compensation Period
       Actual Earnings for all Claiming Jobs and any applicable Offsetting Earnings during the
       Compensation Period shall be determined based on Pay Period Earnings Documentation
       provided by the claimant and other documentation relevant to determining Offsetting
       Earnings. All bonuses and/or commissions shall be allocated pro rata across the period for
       which they were awarded, and annual performance bonuses paid in January and February
       shall be assumed to relate to the prior calendar year, unless the documents establish that
       the bonus related to a specific period of time.


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       Offsetting Earnings and Actual Earnings from all Claiming Jobs shall be calculated giving
       consideration to all Claiming Jobs, provided that:

       1. If the claimant has only one Claiming Job, then:

               i. If Pay Period Earnings Documentation (or other documentation relevant to
                  calculating Offsetting Earnings) reflects the same or an increased number of
                  hours worked at the Claiming Job in the Compensation Period relative to the
                  Claiming Job (or comparable job) in the Benchmark Period, Actual Earnings
                  shall be limited to earnings from the Claiming Job (or comparable job) over the
                  same total number of hours worked in the Benchmark Period, and no
                  Offsetting Earnings shall apply.

                   OR

               ii. If Pay Period Earnings Documentation (or other documentation) (i) reflects a
                   decrease in hours worked at the Claiming Job during the Compensation Period,
                   and (ii) the claimant’s Pay Period Earnings Documentation reflects additional
                   hours worked at a Non-Claiming Job (whether such Non-Claiming Job was held
                   in the Benchmark Period or is a new position), Offsetting Earnings shall be
                   calculated and factored into the determination of Claimant Lost Earnings.

       2. If the claimant has more than one Claiming Job, then:

               i. If Pay Period Earnings Documentation (or other documentation relevant to
                  calculating Offsetting Earnings) for all Claiming Jobs reflects the same or an
                  increased number of total hours worked across all Claiming Jobs during the
                  Compensation Period (relative to all Claiming Jobs (or comparable jobs) in the
                  Benchmark Period), aggregate Actual Earnings in the Compensation Period
                  shall be limited to total earnings from all Claiming Jobs (or comparable jobs)
                  over the same number of total hours worked in the Benchmark Period,
                  provided that earnings from hours lost in one Claiming Job shall be replaced by
                  earnings from the same number of hours worked in a different Claiming Job
                  during the Compensation Period. No Offsetting Earnings shall apply.

                   OR

               ii. If Pay Period Earnings Documentation (or other documentation relevant to
                   calculating Offsetting Earnings) for all Claiming Jobs reflects (i) fewer total
                   hours worked across all Claiming Jobs during the Compensation Period (relative
                   to all Claiming Jobs (or comparable jobs) in the Benchmark Period), but (ii)
                   more hours worked in one (or more) Claiming Job(s) in the Compensation
                   Period (relative to the same Claiming Job(s) in the Benchmark Period),
                   aggregate Actual Earnings in the Compensation Period shall include total
                   earnings from all Claiming Jobs (or comparable jobs) in the Compensation
                   Period. If the claimant’s Pay Period Earnings Documentation also reflects
                   additional hours worked at a different (Non-Claiming Job) position (whether
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                   such position was held in the Benchmark Period or is a new position), Offsetting
                   Earnings shall be calculated and factored into the determination of Claimant
                   Lost Earnings for the number of hours representing the difference between (a)
                   total hours worked in all Claiming Jobs in the Compensation Period, and (b)
                   total hours worked in all Claiming Jobs in the Benchmark Period.

                   OR

               iii. If Pay Period Earnings Documentation (or other documentation) for all Claiming
                    Jobs (i) reflects a decrease in hours worked at each Claiming Job during the
                    Compensation Period, and (ii) the claimant’s Pay Period Earnings
                    Documentation reflects additional hours worked at a different position
                    (whether such position was held in the Benchmark Period or is a new position),
                    Offsetting Earnings shall be calculated and factored into the determination of
                    Claimant Lost Earnings for the total lost hours.

                   OR

               iv. If the claimant does not have Pay Period Earnings Documentation (or other
                   documentation establishing hours worked) for all Claiming Jobs, then Actual
                   Earnings shall include all earnings from all Claiming Jobs and Offsetting
                   Earnings shall apply.

    Step 6: Determine Claimant Lost Earnings
       Claimant Lost Earnings shall be calculated as (a) the difference between (i) the claimant’s
       Expected Earnings during the Compensation Period (Step 4) from all Claiming Jobs and
       (ii) the claimant’s Actual Earnings during the Compensation Period, as adjusted, if relevant
       (Step 5) from all Claiming Jobs, reduced by (b) any applicable Offsetting Earnings.

    Step 7: Calculate Final Claimant Compensation
    Final Claimant Compensation shall be Claimant Lost Earnings (Step 6) adjusted as follows:
       1. Add any applicable RTP agreed to by the parties. For an employee terminated for cause
          from a Claiming Job, no RTP shall apply.
           -   For claimants whose Claimant Lost Earnings result from more than one Claiming
               Job, the claimant’s applicable RTP shall be calculated based on (i) the percentage of
               total Claimant Lost Earnings related to each Claiming Job, multiplied by (ii) the RTP
               applicable to each Claiming Job, which is determined by the job type
               (Tourism/Other Industries) and zone (Zone A, B, C or D). For example, a claimant
               with 50% of their lost earnings from a job Zone A hotel, and 50% of their lost
               earnings from a job in a Zone C restaurant shall receive an RTP that is calculated as
               follows:
                   Applicable RTP = .5*RTPZone A Tourism (hotel) + .5*RTPZone C Tourism (restaurant)
       2. Add any Reimbursable Training Costs. Reimbursable Training Costs shall be fully
          reimbursed if the training led directly to earned income in 2010. If no corresponding

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            income was earned in 2010, then Reimbursable Training Costs shall be reimbursed up
            to $2,000.
               For example: A claimant who paid $3,000 after April 20, 2010 to secure a
               commercial trucking license and who earned income as a commercial trucker in
               2010 shall receive $3,000 in reimbursement. If the claimant earned no income from
               commercial trucking during 2010, the claimant would receive a $2,000
               reimbursement.
       3. Add any Reimbursable Search Costs.
       4. Add any applicable Employment-Related Benefits Losses.
       5.    Add any One Time, Non-Recurring Event Compensation.
       6. Subtract any Spill-Related Payments.


       7. The formula for Final Claimant Compensation is:
                           Claimant Lost Earnings
                   +       (Claimant Lost Earnings x any applicable RTP)
                   +       Employment-Related Benefits Losses (if applicable)
                   +       Reimbursable Training Costs (full if led to earned income in 2010 from
                           area of training, otherwise $2,000) (if applicable)
                   +       Reimbursable Search Costs (if applicable)
                   +       One Time, Non-Recurring Event Compensation (if applicable)
                    -      Spill-Related Payments (if applicable)
                   -       VoO Settlement Offset and/or VoO Earned Income Offset (if any)




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III. CATEGORY III: CLAIMANTS WITH EARNINGS DOCUMENTATION FOR 2010 BUT WITHOUT
     COMPARABLE BENCHMARK PERIOD EARNINGS

      For Individual Claimants Without Comparable Benchmark Earnings who meet the definition of a
      New Entrant To Employment, a Claimant Who Had Less Than Twelve Months Of Earnings History
      But Was Employed On April 20, 2010 or a Career Changer, 2011 Benchmark Period earnings shall
      be used to establish Expected Earnings, provided that if no such earnings exist, the claimant’s
      Expected Earnings will be based on the applicable alternative identified in this Category III, Step 2.
      If available, the Category III claimant must provide federal or state Tax Returns or Forms W-2 for
      2010 and 2011 (and for 2009 if the claimant is a Career Changer who did not work in the relevant
      2011 time period).17 If Tax Returns or Forms W-2 and/or 1099 are not available, the claimant must
      provide a written statement under oath attesting that no Tax Returns are available and attesting
      that the claimant made diligent efforts to obtain Forms W-2 from his or her employer.
      Category III claimants who do not have Tax Information Documents available may instead provide
      Pay Period Earnings Documentation sufficient to establish earnings during the Compensation
      Period and 2011 (and for 2009 if the claimant is a Career Changer who did not work in the relevant
      2011 time period). If no Pay Period Earnings Documentation or other annual employer-provided
      payroll documentation is available for 2010 and 2011 (and for 2009 if the claimant is a Career
      Changer who did not work in the relevant 2011 time period), claimant shall so state in the sworn
      Claim Form.
      In the event a claimant cannot provide Tax Information Documents or Pay Period Earnings
      Documentation or, for claimants who were not employed in 2011, other documentation required in
      III.B.1.b or III.B.2.b, claimant may not proceed under this Category III and should proceed to
      Category IV to the extent the claimant qualifies for compensation under that Category.

      A. Documentation Requirements
          1. Documentation Establishing Employment Earnings: Claimants under this Category who
             have Tax Information Documents for 2010 and 2011 must provide at least one of the
             following Tax Information Documents for 2010 and 2011 and, if a Career Changer, for 2009:
                     Federal tax Form 1040 pages 1 and 2, all pages of Schedules C, E, and F, and any
                      supporting statements attached to the Form 1040 filing (including Form W-2s for
                      joint returns); or
                     State tax return, including any supporting schedules or statements; or
                     Forms W-2 documenting earnings; or
                     Forms 1099 documenting earnings.



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   If a claimant has not maintained copies of his or her federal income tax returns, he or she shall request a copy or
transcript directly from the IRS. If a claimant has not maintained copies of his or her Forms W-2, he or she shall
request copies directly from the IRS for each employer they worked for during the Compensation Period and 2011
(and, if the claimant is a Career Changer, for 2009). A federal Tax Information Document shall be considered
available if it exists and is in the claimant’s possession or has not been requested from the IRS and/or employer.


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    2. Documentation Establishing Pay Period Earnings: To the extent it is available, or if Tax
       Information Documents for 2010 and 2011 are not available, a claimant must provide Pay
       Period Earnings Documentation for 2010 and the 2011 Benchmark Period. A claimant also
       must provide documentation to establish any bonuses and/or commissions received during
       the 2011 Benchmark Period and the Compensation Period, as well as bonuses and/or
       commissions received during January or February of the 2010 and 2011 for all jobs worked.
       A Career Changer must also provide such information for 2009. To the extent Pay Period
       Earnings Documentation is unavailable, the claimant shall so indicate in the sworn Claim
       Form, and earnings shall be treated as earned evenly throughout each year.

    3. Documentation Of Earnings From Other Sources During the Compensation Period:
       Claimants must also submit documents sufficient to establish the source(s) and amounts of
       earnings, if any, from other post-DWH Spill sources of income (and, if a Career Changer, for
       2009) including: (1) Spill-Related Payments, and (2) compensation received from and hours
       worked in each employment position other than the Claiming Job(s). The types of
       documents sufficient to satisfy this requirement are as follows:
               Forms W-2, paycheck stubs or other employer-provided payroll information; and/or
               Bank records showing income deposits and supporting documentation indicating
                the source of those deposits; and/or
               Documents from BP/GCCF showing payment and BP/GCCF Claim Number; and/or
               Forms 1099; and/or
               Receipts from check cashing services; and/or
               Other documents provided by an employer setting forth for such other employment
                position(s) (i) required hours of work, (ii) actual hours worked by claimant, and
                (iii) compensation rate.

    4. Documentation Establishing Other Costs/Losses: The claimant may also submit
       Reimbursable Training Cost Documentation, Reimbursable Search Cost Documentation,
       and/or documentation regarding Employment-Related Benefits Losses.

    5. Additional Claimant Documentation:

        a. Claimant Employability Documentation: Consists of both:

                i. A copy of a Social Security card, government-issued identification (for example,
                   a valid driver’s license), temporary worker visa, or green card that was valid as
                   of April 20, 2010 for the claimant, or a print out from a public database
                   providing the same information as would be provided by the original document;

                    AND

                ii. Evidence the claimant was at least 16 years of age as of April 20, 2010.
                    Acceptable evidence includes a copy of a valid driver’s license, a valid passport,
                    a certified copy of the claimant’s birth certificate, or a print out from a public
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                          database providing the same information as would be provided by the original
                          document.

             b. Licensing Documentation: If claimant’s employment requires a government-issued
                license/permit, a copy of valid 2010 and 2011 licenses, if appropriate, or a print out
                from a public database providing the same information as would be provided by the
                original document. Licenses could include, but are not limited to:
                       i. Taxi/livery licenses.
                      ii. Real Estate Sales licenses.
                     iii. Other licenses and permits related to income sources.

             c. If the claimant’s employment in the Claiming Job was terminated between April 20,
                2010 and December 31, 2010, the claimant shall have the burden of proof to establish
                the termination was not for cause. The termination shall be deemed not for cause if:
                       i. The claimant establishes that he or she filed for and received unemployment,
                          including, for example, as evidenced by Form 1099 G.
                          OR
                      ii. Claimant provides a letter from the former employer or an Employer Sworn
                          Written Statement confirming termination was not for cause. Any such letter
                          must include contact information for an authorized representative of the
                          employer.
                          OR
                     iii. Other documentation acceptable to the Claims Administrator that establishes
                          that the claimant was not terminated for cause.

         6. Additional Documentation to Establish Causation Presumptions:
             If the claimant is (i) a Career Changer or a Claimant Who Had Less Than Twelve Months of
             Earnings History But Was Employed On April 20, 2010 who seeks to qualify for a causation
             presumption as set forth in Sections III.B.1.a, III.B.1.b and III.B.1.c.i, or (iii) a New Entrant to
             Employment who seeks to qualify for a causation presumption as set forth in Sections
             III.B.2.a, III.B.2.b and III.B.2.c.i, the claimant must provide documentation 2010 and 2011
             (and, if the claimant is a Career Changer, for 2009) to establish that the claimant or the
             claimant’s employer satisfies (or satisfied) the geographic requirements and/or the
             definition of an entity or Natural Person included in the Primary Seafood Industry,
             Secondary Seafood Industry, Tourism,18 or Charter Fishing19 as applicable. To satisfy this
             requirement, the claimant must demonstrate the employer’s location and the following:




18
  The definition of Tourism is set forth in the Tourism Definition, Bates 026632 - 026646.
19
  The definition of Charter Fishing is set forth in Definitions Section 38 of the Deepwater Horizon Economic and
Property Damages Settlement Agreement.

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                 a. That the claimant works or worked for an employer that filed a claim in the MDL
                    No. 2179 settlement process and was determined by the Claims Administrator to
                    satisfy one of the above-listed definitions;
                     OR
                 b. That the claimant’s Tax Information Documents, Pay Period Earnings
                    Documentation, or other documentation establishes that the claimant’s employer
                    satisfies one of the above-listed definitions.

         7. The Causation Requirements set forth in Section III.B below may require additional
            documentation.

      B. Causation Requirements
         1. Causation for a Career Changer and a Claimant Who Had Less Than Twelve Months of
            Earnings History But Was Employed On April 20, 2010: In order for a Career Changer or a
            Claimant Who Had Less Than Twelve Months of Earnings History But Was Employed On
            April 20, 2010 to establish causation under this Category III, the claimant must satisfy the
            following:

                 a. The claimant must have been employed in the Claiming Job on April 20, 2010.

                 AND

                 b. During the 2011 Benchmark Period (even if 2011 is not used to calculate Expected
                    Earnings), the claimant was either (i) employed, (ii) temporarily medically
                    incapacitated such that the claimant was unable to work but expected to return to
                    the workforce shortly thereafter, (iii) engaged in activities or in a condition entitling
                    an employee to leave under Section 102 of The Family Medical Leave Act, of 1993,
                    as amended, 29 U.S.C. §§ 2601, 2612, but did not receive compensation,20 (iv)
                    involuntarily unemployed and can appropriately document job search activities,
                    provided that the claimant can demonstrate that any involuntary unemployment
                    was not a function of the claimant’s termination for cause, (v) a full time student,
                    (vi) medically incapacitated such that the claimant was unable to work and was
                    expected to be unable to return to the workforce, or (vii) was engaged in full-time
                    volunteer or missionary work or had chosen to leave the workforce to serve as a
                    full-time parent or legal guardian. Documentation satisfying this requirement
                    includes one of the following:

                        i. For a claimant employed during 2011, Tax Information Documents, Pay
                           Period Earnings Documentation, or other annual employer-provided payroll


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  If the claimant is (i) a Career Changer or a Claimant Who Had Less Than Twelve Months Of Earnings History But
Was Employed On April 20, 2010, and (ii) was on temporary medical leave from his or her employer pursuant to
the Family Medical Leave Act, and (iii) received compensation during the time period of 2011 Benchmark Period,
the claimant shall be considered to have been employed during the time he or she was receiving compensation.

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                    information or other documentary evidence acceptable to the Claims
                    Administrator.
                 ii. For a temporarily medically-incapacitated Individual, documentation
                     establishing that claimant experienced the temporary disability, such as
                     hospital or medical records or records reflecting receipt of short-term
                     disability or similar benefits.
                iii. For an Individual engaged in activities or a condition entitling an employee to
                     leave under Section 102 of The Family Medical Leave Act, of 1993, as
                     amended, 29 U.S.C. §§ 2601, 2612, who did not receive compensation during
                     the 2011 Benchmark Period, documentation establishing the activities or
                     condition, the duration of such activities or condition, any compensation
                     received during such periods, and/or communications with the employer
                     regarding the same.
                iv. For an involuntarily unemployed Individual, contemporaneous
                    documentation evidencing a job search and diligent efforts to secure
                    employment, as well as the documentation set forth in Section III.A.5
                    demonstrating that the involuntary unemployment was not a function of the
                    claimant’s termination for cause.
                 v. For a full-time student, documentation reflecting full-time matriculation or
                    enrollment at a college or university, such as a matriculation certificate,
                    tuition bill and evidence of payment, a transcript, a degree, certificate, or
                    diploma indicating completion of a course of study, or a letter from the
                    college or university registrar verifying the matriculation.
                vi. For a medically-incapacitated Individual not expected to return to the
                    workforce, documentation establishing the claimant experienced such
                    disability, such as hospital or medical records or records reflecting receipt of
                    Social Security or other disability benefits.
                vii. For an Individual who was engaged in full-time volunteer or missionary work
                     or who had chosen to leave the workforce to serve as a full-time parent or
                     legal guardian, documentation evidencing the reason that the Individual was
                     not engaged in work for monetary compensation.

          AND

          c. The claimant must satisfy one of the following:

                 i. Presumed Causation: The DWH Spill shall be presumed to be the cause of
                    lost earnings for a Claiming Job during the Compensation Period for the
                    following categories of claimants who submit the required documentation,
                    provided that the claimant can demonstrate that any loss of income or
                    employment related to the Claiming Job was not a function of the claimant’s
                    termination for cause pursuant to the Documentation Requirements set forth
                    in Section III.A.5.c:


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                                   1) If a claimant is an Individual seeking compensation for an economic
                                      loss relating to employment within Zone A,21 the claimant is not
                                      required to provide any evidence of causation relating to that
                                      Claiming Job.
                                   2) If a claimant is an individual seeking compensation for an economic
                                      loss for a job in which he or she was employed by, or exclusively
                                      serviced, an entity or Natural Person that satisfies the Primary
                                      Seafood Industry definition as set forth in the Seafood Distribution
                                      Chain Definitions, the claimant is not required to provide any
                                      evidence of causation relating to that Claiming Job.
                                   3) If a claimant is an individual seeking compensation for an economic
                                      loss for a job in which he or she was employed by an entity or
                                      Natural Person that satisfies the Secondary Seafood Industry
                                      definition as set forth in the Seafood Distribution Chain Definitions,
                                      and the entity or Natural Person was located in Zones B or C, the
                                      claimant is not required to provide any evidence of causation
                                      relating to that Claiming Job.
                                   4) If the claimant is an Individual seeking compensation for an
                                      economic loss for a job in which he or she was employed by a
                                      business located in Zone B that meets the definition of Tourism, the
                                      claimant is not required to provide any evidence of causation
                                      relating to that Claiming Job.

                                   5) If the claimant is an Individual seeking compensation for an
                                      economic loss for a job in which he or she was employed by an
                                      entity or Natural Person that satisfies the definition of Charter
                                      Fishing, and the Charter Fishing business was located in Zones A, B
                                      or C, the claimant is not required to provide any evidence of
                                      causation relating to that Claiming Job.

                            OR

                        ii. Individual Claimant Without Presumed Causation: If a claimant is not
                            entitled to a causation presumption as set forth in Section III.B.1.c.i, the
                            claimant can establish causation for a Claiming Job during the Compensation



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  For purposes of this Framework for Individual Economic Loss Claims, the presumption shall be that the location
of economic loss for the Claiming Job is the location of the claimant’s employer within the Class Definition
geographic area, not the claimant’s residence. Claimants may establish an alternative location of economic loss for
the Claiming Job other than their employer’s location by providing evidence that their primary employment
activities and responsibilities occur in a location different from their employer’s business address, and that the
claimed DWH Spill-related economic loss occurred at such location. For example, the claimant works for a
housekeeping company located in Zone C that services households in Zones A, B and C, including vacation
condominiums located in Zone A, and the claimant establishes that she works primarily in Zone A.

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                     Period only by satisfying the requirements of one of the following sub-
                     sections:
                           1) Causation is established if the Claiming Job is with an Eligible
                              Employer. The Claims Administrator shall verify that the employer
                              is an Eligible Employer.
                           2) Causation for a Claiming Job is established if the claimant provides
                              an Employer Sworn Written Statement attributing the claimant’s
                              loss of income during the Compensation Period to the DWH Spill.
                              The Employer Sworn Written Statement must articulate in detail
                              how the claimant’s losses at the Claiming Job are causally related to
                              the DWH Spill. Such Employer Sworn Written Statement must also
                              include contact information for an authorized representative of the
                              employer.
                 iii. The Claims Administrator shall evaluate the credibility and reliability of the
                      information provided by the employer and the claimant, including any Sworn
                      Written Statements, and have the right to request supplemental
                      documentation and/or to interview the employer in accordance with the
                      Addendum Regarding Interviews of Claimant Alleging Economic Loss.

    2. Causation for a New Entrant to Employment: In order for a New Entrant to Employment
       to establish causation under this Category III, the claimant must satisfy the following:

           a. The claimant must satisfy the definition of a New Entrant to Employment and shall
              provide documentation showing residency, or that the claimant took significant
              affirmative steps to establish residency, within close enough proximity to the
              anticipated location of employment to travel to the job as frequently as required by
              the employer, for a period of at least 60 days after April 20, 2010 but before
              December 31, 2010 (or before April 30, 2011 for claimants whose employer or
              expected employer satisfied the Primary Seafood Industry definition).
              Documentation meeting this requirement includes:

                  i. A lease or rental agreement; or
                 ii. A sublease agreement; or
                 iii. Contemporaneous utility bills.

           AND

           b. During the 2011 Benchmark Period, the claimant was either (i) employed, (ii)
              temporarily medically incapacitated such that the claimant was unable to work but
              expected to return to the workforce shortly thereafter, (iii) engaged in activities or
              in a condition entitling an employee to leave under Section 102 of The Family
              Medical Leave Act, of 1993, as amended, 29 U.S.C. §§ 2601, 2612, but did not



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                     receive compensation,22 (iv) involuntarily unemployed and can appropriately
                     document job search activities, provided that the claimant can demonstrate that
                     any involuntary unemployment was not a function of the claimant’s termination for
                     cause, (v) a full time student, (vi) medically incapacitated such that the claimant was
                     unable to work and was expected to be unable to return to the workforce, or (vii)
                     was engaged in full-time volunteer or missionary work or had chosen to leave the
                     workforce to serve as a full-time parent or legal guardian. Documentation satisfying
                     this requirement includes one of the following:

                        i. For a claimant employed during 2011, Tax Information Documents, Pay
                           Period Earnings Documentation, or other annual employer-provided payroll
                           information or other documentary evidence acceptable to the Claims
                           Administrator.
                       ii. For a temporarily medically-incapacitated Individual, documentation
                           establishing that claimant experienced the temporary disability, such as
                           hospital or medical records or records reflecting receipt of short-term
                           disability or similar benefits.
                       iii. For an Individual engaged in activities or a condition entitling an employee to
                            leave under Section 102 of The Family Medical Leave Act, of 1993, as
                            amended, 29 U.S.C. §§ 2601, 2612, who did not receive compensation during
                            the 2011 Benchmark Period, documentation establishing the activities or
                            condition, the duration of such activities or condition, any compensation
                            received during such periods, and/or communications with the employer
                            regarding the same.
                       iv. For an involuntarily unemployed Individual, contemporaneous
                           documentation evidencing a job search and diligent efforts to secure
                           employment, as well as the documentation set forth in Section III.A.5
                           demonstrating that the involuntary unemployment was not a function of the
                           claimant’s termination for cause.
                       v. For a full-time student, documentation reflecting full-time matriculation or
                          enrollment at a college or university, such as a matriculation certificate,
                          tuition bill and evidence of payment, a transcript, a degree, certificate, or
                          diploma indicating completion of a course of study, or a letter from the
                          college or university registrar verifying the matriculation.
                       vi. For a medically-incapacitated Individual not expected to return to the
                           workforce, documentation establishing the claimant experienced such
                           disability, such as hospital or medical records or records reflecting receipt of
                           Social Security or other disability benefits.


22
  If the claimant is (i) a Career Changer or a Claimant Who Had Less Than Twelve Months Of Earnings History But
Was Employed On April 20, 2010, and (ii) was on temporary medical leave from his or her employer pursuant to
the Family Medical Leave Act, and (iii) received compensation during the time period of 2011 Benchmark Period,
the claimant shall be considered to have been employed during the time he or she was receiving compensation.

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                       vii. For an Individual who was engaged in full-time volunteer or missionary work
                            or who had chosen to leave the workforce to serve as a full-time parent or
                            legal guardian, contemporaneous documentation evidencing the reason that
                            the Individual was not engaged in work for monetary compensation.

                      AND



                 c. The claimant must satisfy one of the following:

                         i. Presumed Causation: The DWH Spill shall be presumed to be the cause of
                            lost earnings for a Claiming Job during the Compensation Period for New
                            Entrants to Employment who provide documentation showing proof of an
                            offer of employment made and accepted prior to April 20, 2010 for
                            employment to begin between April 21 and December 31, 2010 (or for
                            employment to begin between April 21, 2010 and April 30, 2011 for claimants
                            in the Primary Seafood Industry), provided that the following conditions are
                            also met:

                                   1) The offer documentation evidences expected employment:
                                              a) Within Zone A;23 or,
                                              b) In which the offering employer was an entity or Natural
                                                 Person that satisfies the Primary Seafood Industry
                                                 definition as set forth in the Seafood Distribution Chain
                                                 Definitions; or,
                                              c) In which the offering employer was an entity or Natural
                                                 Person that satisfies the Secondary Seafood Industry
                                                 definition as set forth in the Seafood Distribution Chain
                                                 Definitions, and the entity or Natural Person was located
                                                 in Zones B or C; or
                                              d) In which the offering employer was a business located in
                                                 Zone B that meets the definition of Tourism; or
                                              e) In which the offering employer was a business located in
                                                 Zones A, B or C that satisfies the definition of Charter
                                                 Fishing.

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  For purposes of this Framework for Individual Economic Loss Claims, the presumption shall be that the location
of economic loss for the Claiming Job is the location of the claimant’s employer within the Class Definition
geographic area, not the claimant’s residence. Claimants may establish an alternative location of economic loss for
the Claiming Job other than their employer’s location by providing evidence that their primary employment
activities and responsibilities occur in a location different from their employer’s business address, and that the
claimed DWH Spill-related economic loss occurred at such location. For example, the claimant works for a
housekeeping company located in Zone C that services households in Zones A, B and C, including vacation
condominiums located in Zone A, and the claimant establishes that she works primarily in Zone A.

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                            2) The documentation provided must include information sufficient to
                               establish proposed start and end dates, wage rate and projected
                               hours, and withdrawal of the offer during the period April 21
                               through December 31, 2010.

                      OR

                  ii. Individual Claimant Without Presumed Causation: If the New Entrant to
                      Employment is not entitled to a causation presumption as set forth in Section
                      III.B.2.c.i, the claimant can establish causation for a Claiming Job during the
                      Compensation Period only by providing an Employer Sworn Written
                      Statement attributing the claimant’s loss of income during the Compensation
                      Period to the DWH Spill. The statement must articulate in detail how the
                      claimant’s losses are causally related to the DWH Spill, and must specifically
                      (i) attest to the claimant’s accepted employment offer (including start and end
                      dates, wage rate and projected hours), and (ii) verify that the employer’s
                      decision not to employ the claimant, or to employ the claimant in a reduced
                      capacity, was due to or resulting from the DWH Spill. Such letter must also
                      include contact information for an authorized representative of the employer.

                  iii. The Claims Administrator shall evaluate the credibility and reliability of the
                       information provided by the employer and the claimant, including any Sworn
                       Written Statement(s), and have the right to request supplemental
                       documentation and/or interview the employer in accordance with the
                       Addendum Regarding Interviews of Claimant Alleging Economic Loss.

 C. Compensation Calculation
    For claimants who were employed in 2011 in the same job or similar job as that performed or
    offered and withdrawn in the Compensation Period selected by the claimant, the Claims
    Administrator shall use either Tax Information Documents and/or Pay Period Earnings
    Documentation, to calculate the Claimant’s Lost Earnings. As set forth in the steps below,
    Claimant’s Lost Earnings includes any lower amount of earnings in the Compensation Period as
    compared to the 2011 Benchmark Period, after those 2011 earnings have been decreased by
    the General Growth Factor, less any Offsetting Earnings. In addition, for claims based on non-
    salaried, hourly-wage jobs, the claimant’s 2011 earnings shall also be decreased by the Industry
    Growth Factor.
    For any Category III claimant not employed in 2011 in the same job or similar job as that
    performed or offered and withdrawn in the Compensation Period selected by the claimant and
    satisfying a requirement of Section III.B.1.b or III.B.2.b above, Expected Earnings for each type of
    Category III claimant shall be based on alternative data, as described in detail in Item 2 of Step 2
    below.
    The claimant shall receive a lump-sum final payment that includes compensation for Claimant’s
    Lost Earnings, plus any applicable RTP agreed upon by the parties, plus compensation for
    properly documented Employment-Related Benefits Losses, Reimbursable Training Costs and

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    Reimbursable Search Costs, if any, less the amounts of any Spill-Related Payments.

    Example compensation calculations are set forth in Appendices A through F attached hereto.

    Step 1: Claimant Selects Compensation Period
       1. Claimant selects a Compensation Period. For a claimant who (i) was terminated for
          cause in 2010 from the Claiming Job(s), or (ii) otherwise ended employment at the
          Claiming Job(s) in 2010 for reasons unrelated to the DWH Spill, the Compensation
          Period may not extend beyond the termination date.

    Step 2: Identify 2011 Benchmark Period Earnings to Be Used in Calculating Expected Earnings
       The purpose of this Step 2 is to identify earnings to be used in calculating Expected
       Earnings.
       1. For claimants employed during a 2011 Benchmark Period, the claimant’s earnings used
          in calculating Expected Earnings shall be the claimant’s earnings from such 2011 period.

           a. Claimants with Tax Information Documents: Earnings during the 2011 Benchmark
              Period as evidenced by Tax Information Documents shall include earned income
              from the Claiming Job (or comparable job) and shall be assumed to have been
              earned evenly throughout 2011 unless the claimant provides Pay Period Earnings
              Documentation sufficient to establish actual earnings distribution. All bonuses
              and/or commissions shall be allocated pro rata across the period for which they
              were awarded, and annual performance bonuses paid in January and February shall
              be assumed to relate to the prior calendar year, unless the documents establish that
              the bonus related to a specific period of time.

           b. Claimants with only Pay Period Earnings Documentation: Earnings during the 2011
              Benchmark Period as evidenced by Pay Period Earnings Documentation for each
              Claiming Job shall be determined based upon the nature and extent of the
              documentation provided.

                      i.   If the claimant submits Pay Period Earnings Documentation that covers
                           only discrete portions of 2011, the Claims Administrator shall base the
                           2011 Benchmark Period earnings for that job only on the actual
                           documentation provided (i.e., data shall not be extrapolated to periods
                           for which Pay Period Earnings Documentation was not provided).




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                      ii.   If the claimant submits Pay Period Earnings Documentation for a job
                            that provides data as to full year earnings but not the allocation of those
                            earnings (i.e., a year-end paystub), then if the claimant also provides
                            additional Pay Period Earnings Documentation deemed by the Claims
                            Administrator to be sufficient for purposes of allocating those earnings
                            across the relevant period, earnings for that job shall be allocated
                            consistent with that Pay Period Earnings Documentation.

                     iii.   If no additional information is provided regarding the allocation of those
                            earnings, the Claims Administrator shall assume a pro rata distribution
                            over the relevant period.

                     iv.    All bonuses and/or commissions shall be allocated pro rata across the
                            period for which the claimant indicates they were awarded, and annual
                            performance bonuses paid in January and February shall be assumed to
                            relate to the prior calendar year, unless the documents establish that
                            the bonus related to a specific period of time.

           OR

       2. For claimants not employed during the 2011 Benchmark Period, but who satisfied the
          causation requirement in Section III.B.3, the claimant’s earnings used in calculating
          Expected Earnings shall be one of the following:

           a. New Entrant To Employment: The claimant’s Expected Earnings during the
              Compensation Period shall be based on the rescinded or reduced offer of
              employment or Employer Sworn Written Statement used to establish causation.
           b. Claimant Who Had Less Than Twelve Months Of Earnings History But Was
              Employed On April 20, 2010: The claimant’s Expected Earnings shall be based on
              the claimant’s average monthly pre-DWH Spill earnings in the Claiming Job,
              recognizing that this calculation shall be based on less than twelve months of
              earnings data and shall be subject to an Industry Growth Factor only, if relevant, as
              described below.
           c. Career Changer: The claimant’s Expected Earnings shall be based on earnings in the
              2009 time period of at least 90 consecutive days corresponding to the time period
              of at least 90 consecutive days within the same months selected by the claimant as
              the Compensation Period.

    Step 3: Determine Earnings Growth Factor(s)
       1. The following Growth Factors may apply for purposes of calculating Expected Earnings:
                a. General Growth Factor is defined in Definitions Section N.2 and is 2.0%.
                b. Industry Growth Factor is defined in Definitions Section N.3. For claimants in
                   non-salaried, hourly wage jobs, the Industry Growth Factor of 1.5% shall be

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                   applied.
               c. Claimant Specific Growth Factor is defined, and the calculation is explained in
                  Definitions Section N.1. For purposes of this Section III, a Claimant Specific
                  Growth Factor may apply only in the limited circumstance of a Career Changer
                  who does not have earnings during the 2011 Benchmark Period for one of the
                  reasons set forth in Section III.B.3.

    Step 4: Calculate Expected Earnings
       Expected Earnings will be calculated as follows:
       1. For claimants covered by Step 2.a, Expected Earnings equal the earnings over the 2011
          Benchmark Period, decreased by the applicable Growth Factors (from Step 3).
            Expected Earnings = 2011 Benchmark Period Earnings from Step 2 x (1 - applicable Step 3
                                         Growth Factor(s))

       2. For claimants covered by Step 2.b, Expected Earnings are calculated according to one of
          the following:

               a. New Entrant To Employment: The claimant’s Expected Earnings during the
                  Compensation Period shall be based on the rescinded or reduced offer of
                  employment or Employer Sworn Written Statement used to establish
                  causation. No Growth Factors apply.
               b. Claimant Who Had Less Than Twelve Months Of Earnings History But Was
                  Employed On April 20, 2010: The claimant’s Expected Earnings shall be based
                  on the claimant’s average monthly pre-DWH Spill earnings in the Claiming Job,
                  recognizing that this calculation shall be based on less than twelve months of
                  earnings data and shall be increased by the Industry Growth Factor, if relevant.
                  No other Growth Factors shall apply.
               c. Career Changer: The claimant’s Expected Earnings shall be based on earnings in
                  the 2009 time period of at least 90 consecutive days corresponding to the time
                  period of at least 90 consecutive days within the same months selected by the
                  claimant as the Compensation Period, increased by the Claimant Specific
                  Growth Factor or the General Growth Factor, as applicable, and by an Industry
                  Growth Factor, if applicable.

    Step 5: Determine Actual Earnings and Any Offsetting Earnings In The Compensation Period
       Actual Earnings for all Claiming Jobs and any applicable Offsetting Earnings during the
       Compensation Period shall be determined based on Tax Information Documentation or
       Pay Period Earnings Documentation provided by the claimant and other documentation
       relevant to determining Offsetting Earnings.

       To the extent the claimant does not have Pay Period Earnings Documentation for a
       Claiming Job, Actual Earnings during the Compensation Period shall be estimated for that
       Claiming Job by dividing the claimant’s total 2010 Claiming Job earnings by 12 and

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       multiplying that amount by the number of months in the Compensation Period. All bonuses
       and/or commissions shall be allocated pro rata across the periods for which they were
       awarded, and annual performance bonuses paid in January and February shall be assumed
       to relate to the prior calendar year, unless the documents establish that the bonus related
       to a specific period of time.

       Offsetting Earnings and Actual Earnings from all Claiming Jobs shall be calculated giving
       consideration to all Claiming Jobs, provided that:

       1. If the claimant has only one Claiming Job, then:

                i. If Pay Period Earnings Documentation (or other documentation relevant to
                   calculating Offsetting Earnings) reflects the same or an increased number of
                   hours worked at the Claiming Job in the Compensation Period relative to the
                   Claiming Job (or comparable job) in the Benchmark Period, Actual Earnings
                   shall be limited to earnings from the Claiming Job (or comparable job) over the
                   same total number of hours worked in the Benchmark Period, and no
                   Offsetting Earnings shall apply.

           OR

                ii. If Pay Period Earnings Documentation (or other documentation) (i) reflects a
                    decrease in hours worked at the Claiming Job during the Compensation Period,
                    and (ii) the claimant’s Pay Period Earnings Documentation reflects additional
                    hours worked at a Non-Claiming Job (whether such Non-Claiming Job was held
                    in the Benchmark Period or is a new position), Offsetting Earnings shall be
                    calculated and factored into the determination of Claimant Lost Earnings.

           2. If the claimant has more than one Claiming Job, then:

                i. If Pay Period Earnings Documentation (or other documentation relevant to
                   calculating Offsetting Earnings) for all Claiming Jobs reflects the same or an
                   increased number of total hours worked across all Claiming Jobs during the
                   Compensation Period (relative to all Claiming Jobs (or comparable jobs) in the
                   Benchmark Period), aggregate Actual Earnings in the Compensation Period
                   shall be limited to total earnings from all Claiming Jobs (or comparable jobs)
                   over the same number of total hours worked in the Benchmark Period,
                   provided that earnings from hours lost in one Claiming Job shall be replaced by
                   earnings from the same number of hours worked in a different Claiming Job
                   during the Compensation Period. No Offsetting Earnings shall apply.

                   OR

                ii. If Pay Period Earnings Documentation (or other documentation relevant to
                    calculating Offsetting Earnings) for all Claiming Jobs reflects (i) fewer total
                    hours worked across all Claiming Jobs during the Compensation Period (relative
                    to all Claiming Jobs (or comparable jobs) in the Benchmark Period), but (ii)
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                    more hours worked in one (or more) Claiming Job(s) in the Compensation
                    Period (relative to the same Claiming Job(s) in the Benchmark Period),
                    aggregate Actual Earnings in the Compensation Period shall include total
                    earnings from all Claiming Jobs (or comparable jobs) in the Compensation
                    Period. If the claimant’s Pay Period Earnings Documentation also reflects
                    additional hours worked at a different (Non-Claiming Job) position (whether
                    such position was held in the Benchmark Period or is a new position), Offsetting
                    Earnings shall be calculated and factored into the determination of Claimant
                    Lost Earnings for the number of hours representing the difference between (a)
                    total hours worked in all Claiming Jobs in the Compensation Period, and (b)
                    total hours worked in all Claiming Jobs in the Benchmark Period.

                    OR

               iii. If Pay Period Earnings Documentation (or other documentation) for all Claiming
                    Jobs (i) reflects a decrease in hours worked at each Claiming Job during the
                    Compensation Period, and (ii) the claimant’s Pay Period Earnings
                    Documentation reflects additional hours worked at a different position
                    (whether such position was held in the Benchmark Period or is a new position),
                    Offsetting Earnings shall be calculated and factored into the determination of
                    Claimant Lost Earnings for the total lost hours.

                    OR

               iv. If the claimant does not have Pay Period Earnings Documentation (or other
                   documentation establishing hours worked) for all Claiming Jobs, then Actual
                   Earnings shall include all earnings from all Claiming Jobs and Offsetting
                   Earnings shall apply.

    Step 6: Determine Claimant Lost Earnings
        Claimant Lost Earnings shall be calculated as (a) the difference between (i) the claimant’s
        Expected Earnings during the Compensation Period (Step 4) from all Claiming Jobs and
        (ii) the claimant’s Actual Earnings during the Compensation Period, as adjusted, if relevant,
        (Step 5) from all Claiming Jobs, reduced by (b) any applicable Offsetting Earnings.

    Step 7: Calculate Final Claimant Compensation
    Final claimant compensation shall be Claimant Lost Earnings (Step 6) adjusted as follows:
            1. Add any applicable RTP agreed to by the parties, provided that:
                    -    For claimants whose Claimant Lost Earnings result from more than one
                         Claiming Job, the claimant’s applicable RTP shall be calculated based on
                         (i) the percentage of total Claimant Lost Earnings related to each Claiming
                         Job, multiplied by (ii) the RTP applicable to each Claiming Job, which is
                         determined by the job type (Tourism/Other Industries) and zone (Zone A, B,
                         C or D). For example, a claimant with 50% of their lost earnings from a job


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                     Zone A hotel, and 50% of their lost earnings from a job in a Zone C
                     restaurant shall receive an RTP that is calculated as follows:
                             Applicable RTP = .5*RTPZone A Tourism (hotel) + .5*RTPZone C Tourism (restaurant)
                 -   For claimants unable to work in 2011 because they were (i) a full time
                     student, (ii) medically incapacitated such that the claimant was unable to
                     work and was expected to be unable to return to the workforce, or
                     (iii) engaged in full-time volunteer or missionary work or had chosen to
                     leave the workforce to serve as a full-time parent or legal guardian (as set
                     forth in Section III.B.3), no RTP shall be applied.
                 -   For an employee terminated for cause in 2010 from a Claiming Job, no RTP
                     shall apply.
          2. Add any Reimbursable Training Costs. Reimbursable Training Costs shall be fully
             reimbursed if the training led directly to earned income in 2010. If not, then
             Reimbursable Training Costs shall be reimbursed up to $2,000.
             For example: A claimant who paid $3,000 after April 20, 2010 to secure a
             commercial trucking license and who earned income as a commercial trucker in
             2010 shall receive $3,000 in reimbursement. If the claimant earned no income from
             commercial trucking during 2010, the claimant would receive a $2,000
             reimbursement.
          3. Add any Reimbursable Search Costs.
          4. Add any applicable Employment-Related Benefits Losses.
          5. Add any One Time, Non-Recurring Event Compensation.
          6. Subtract any Spill-Related Payments.


          7. The formula for Final Claimant Compensation is:
                         Claimant Lost Earnings
                 +       (Claimant Lost Earnings x applicable RTP (if any))
                 +       Employment-Related Benefits Losses (if applicable)
                 +       Reimbursable Training Costs (full if led to earned income in 2010 from
                         area of training, otherwise $2,000) (if applicable)
                 +       Reimbursable Search Costs (if applicable)
                 +       One Time, Non-Recurring Event Compensation (if applicable)
                 -       Spill-Related Payments (if applicable)
                 -       VoO Settlement Offset and/or VoO Earned Income Offset (if any)




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IV. CATEGORY IV: CLAIMANTS WITHOUT EARNINGS DOCUMENTATION WHO SUBMIT CLAIMANT
    AND EMPLOYER SWORN WRITTEN STATEMENTS TO ESTABLISH EARNINGS

      Any claimant who satisfies all of the following criteria may be eligible for compensation pursuant to
      this Category IV:
          1. The claimant’s employer or employment is located in Zones A, B or C.24
          2. The claimant does not have Tax Information Documents or Pay Period Earnings
             Documentation for the Claiming Job evidencing his or her earnings during the relevant time
             period. For claimants whose employer(s) is an entity or Natural Person satisfying the
             Primary Seafood Industry definition, the relevant periods shall be (i) April 21, 2009 through
             April 20, 2010, and (ii) April 21, 2010 through April 30, 2011. For all other claimants, the
             requisite periods shall be (i) April 21 through December 31, 2009 and (ii) April 21 through
             December 31, 2010.
          3. The claimant is not a New Entrant to Employment.

      Claimants who meet the criteria above may instead establish lost earnings and causation by
      submitting, in addition to a sworn Claim Form, (a) a Claimant Sworn Written Statement with
      specified contents, (b) one or more Employer Sworn Written Statement(s) providing information
      for at least the periods April 21 through December 31, 2009, and April 21 through December 31,
      2010,25,26 and, at the claimant’s option, for additional periods as described below, (c) any other
      specified documentation. In addition, the Claims Administrator may interview the claimant and/or
      the employer consistent with the Addendum Regarding Interviews of Claimant Alleging Economic
      Loss and Section IV.B, below.

      A. Documentation And Causation Requirements:
          A Category IV claimant must provide a sworn Claim Form and all of the documents identified
          below. The Claims Administrator shall review and assess the documentation provided by the
          claimant, including information from the claimant’s employer(s), and any other information
          deemed relevant by the Claims Administrator, for purposes of determining whether the

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   For purposes of this Framework for Individual Economic Loss Claims, the presumption shall be that the location
of economic loss for the Claiming Job is the location of the claimant’s employer within the Class Definition
geographic area, not the claimant’s residence. Claimants may establish an alternative location of economic loss for
the Claiming Job other than their employer’s location by providing evidence that their primary employment
activities and responsibilities occur in a location different from their employer’s business address, and that the
claimed DWH Spill-related economic loss uniquely occurred at such location. For example, the claimant works for
a housekeeping company located in Zone C that services households in Zones A, B and C, including vacation
condominiums located in Zone A, and the claimant establishes that she works primarily in Zone A.
25
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the claimant should instead provide one or more Employer Sworn Written Statement(s) for the periods
(i) April 21, 2009 through April 20, 2010 and (ii) April 21, 2010 through April 20, 2011.
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   If the information for both required periods can be satisfied with an Employer Sworn Written Statement from
one employer, only one Employer Sworn Written Statement is required. If a single employer is not able to provide
the necessary information for both required periods set forth above, the claimant must submit at least one
Employer Sworn Written Statement for each period.

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         claimant experienced a loss of earnings during April 21 through December 31, 2010,27 and, if so,
         whether the loss was due to or resulting from the DWH Spill. The Claims Administrator shall
         rely on his assessment of the credibility and reliability of the information submitted in
         determining if this causation requirement is satisfied.
         1. Claimant Sworn Written Statement: The claimant shall submit a Claimant Sworn Written
            Statement which sets forth the following information and shall attach any relevant
            documents in claimant’s possession:
                      a. No Tax Returns are available for 2009 and 2010.
                      b. No Pay Period Earnings Documentation is available for the Claiming Job(s) for
                         the period April 21 through December 31 of 2009 and 2010.28
                      c. The claimant made diligent efforts to obtain Form W-2s for 2009 and 2010 from
                         his or her employer(s) and they are not available.
                      d. The claimant’s employment history with each employer, including, for example,
                         the nature of the work performed, number of years worked, whether the
                         employment is steady or seasonal, year-round or intermittent, and the
                         circumstances of the claimant’s departure and/or termination, if applicable. At
                         a minimum, the claimant shall include the following:
                              i.    The business name, last known address, telephone number and, if
                                    available, website of each of claimant’s employers for the period April
                                    21 through December 31 of 2009 and 2010.29
                             ii.    To be potentially eligible for an RTP, the claimant must also provide the
                                    above information for the period April 21 through December 31, 2011.30
                      e. The claimant’s actual earned income from all sources in 2009 and 2010, and any
                         other earnings history that the claimant believes is relevant to support the
                         claim, including any support for the claimant’s belief that these actual earned
                         amounts are accurate.
                      f.   If applicable, the claimant’s BP/GCCF Claim Number, and a listing of any Spill-
                           Related Payments received by the claimant.
                      g. An explanation of how the reduction of claimant’s hours of work, termination of
                         the claimant’s employment, and/or withdrawal of an offer of employment


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   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the potential loss period shall be April 21, 2010 through April 20, 2011.
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   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the claimant should instead verify that no Pay Period Earnings Documentation for the Claiming Job is
available for the periods (i) April 21, 2009 through April 20, 2010 and (ii) April 21, 2010 through April 20, 2011.
29
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the claimant should instead provide the business name and last known address of each of claimant’s
employers for the periods (i) April 21, 2009 through April 20, 2010 and (ii) April 21, 2010 through April 20, 2011.
30
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the claimant should instead provide the business name and last known address of each of claimant’s
employers for the period April 21, 2011 through April 20, 2012 to be potentially eligible for an RTP.

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                          related to the Claiming Job(s) during the period from April 21, 2010 - December
                          31, 2010 was due to or resulting from the DWH Spill.31
                      h. A statement and any available documentation establishing that the claimant
                         was present and available to work in Zones A, B or C in close enough proximity
                         to the anticipated location of employment to travel to the job as frequently as
                         required by the employer during the period from April 21, 2010 to December
                         31, 2010.32
                              i.   To be potentially eligible for an RTP, the claimant must satisfy the above
                                   requirement for the period April 21 through December 31, 2011.33
                             ii.   Documentation that could demonstrate presence and availability
                                   includes, but is not limited to, the following:
                                   1) A lease or rental agreement; or
                                   2) A sublease agreement; or
                                   3) Contemporaneous utility bills.

         2. Claimant Employability Documentation:
             Consists of both:
                      a. A copy of a Social Security card, government-issued identification (for example,
                         a valid driver’s license), temporary worker visa, or green card that was valid as
                         of April 20, 2010, or a print out from a public database providing the same
                         information as would be provided by the original document.

                          AND

                      b. Evidence that the claimant was at least 16 years of age as of April 20, 2010.
                         Acceptable evidence includes a valid driver’s license, a valid passport, or a copy
                         of the claimant’s birth certificate, or a print out from a public database
                         providing the same information as would be provided by the original document.

         3. Licensing Documentation: If the claimant’s employment in the Claiming Job requires a
            government-issued license/permit, the claimant shall provide a copy of valid 2009, 2010
            and, if applicable, 2011 licenses, or a print out from a public database providing the same
            information as would be provided by the original document, such as:

31
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the claimant should instead provide an explanation of how the reduction of claimant’s hours of work,
termination of the claimant’s employment, and/or withdrawal of an offer of employment for the periods (i) April
21, 2009 through April 20, 2010 and (ii) April 21, 2010 through April 20, 2011 was due to or resulting from the
DWH Spill.
32
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the claimant should instead provide information regarding his or her presence and availability for work
in Zones A, B or C for the period April 21, 2010 through April 20, 2011.
33
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the claimant should instead provide information regarding his or her presence and availability for work
in Zones A, B or C for the period April 21, 2011 through April 20, 2012 to be potentially eligible for an RTP.

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                     a. Taxi/livery licenses.
                     b. Real Estate Sales licenses.
                     c. Other licenses and permits related to income sources.

         4. Employer Sworn Written Statement: The claimant shall submit an Employer Sworn
            Written Statement from at least one of his or her employers during each of the periods
            April 21 through December 31 of 2009 and 2010, which sets forth the following information
            with any relevant documents attached.34 If the information for both required periods can
            be satisfied with an Employer Sworn Written Statement from one employer, only one
            Employer Sworn Written Statement is required. If a single employer is not able to provide
            the necessary information for both required periods, the claimant must submit at least one
            Employer Sworn Written Statements for each period.
                     a. Employer Information
                            i.    Employer’s business name
                            ii.   Address(es)
                           iii.   Telephone number(s)
                           iv.    Website(s), if available
                            v.    A description of the nature of the business
                           vi.    Compensation practices (for example, weekly or bi-weekly pay periods),
                                  wage rates, and typical hours worked for employees holding jobs
                                  comparable to the Claiming Job.
                          vii.    If the employer is not an Eligible Employer, information sufficient to
                                  establish the following:
                                  1) The size and scale of the employer’s business, such as:
                                      a) Size of physical plant;
                                      b) Best estimate of the number of customers;
                                      c) Best estimate of the volume of product produced;
                                      d) Best estimate of the number of full-time and part-time
                                         employees;
                                      e) Financial information; and/or
                                      f)   To the extent the business is a seasonal business, this
                                           information should be provided to reflect business size during
                                           different seasons.

34
  For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the Employer Sworn Written Statement shall be provided from each of the claimant’s employers for
the periods (i) April 21, 2009 through April 20, 2010 and (ii) April 21, 2010 through April 20, 2011.

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                                    2) Copies of any applicable required licenses possessed by the
                                       employer during the period April 21 through December 31 of 2009
                                       and 2010,35 or a print out from a public database providing the
                                       same information as would be provided by the original document .
                      b. Employee Information
                              i.    The claimant’s employment history with employer, including, for
                                    example, the nature of the work performed, number of years worked,
                                    whether the employment is steady or seasonal, year-round or
                                    intermittent, and the circumstances of the claimant’s departure and/or
                                    termination, if applicable.
                             ii.    The claimant’s wage rate and total compensation for the following
                                    periods, if applicable:

                                    1)   April 21 through December 31, 2009; 36
                                    2)   April 21 through December 31, 2010;37
                                    3)   April 21 through December 31, 2011;38 and
                                    4)   Any other time period for which the employer is able and elects to
                                         provide the requested information.

                                    If the employer cannot provide precise actual dates and times, it shall
                                    be sufficient for the employer to provide more general information
                                    satisfying this standard – for example, “Claimant was employed for 30
                                    days at a rate of $100 per day for 12 weeks during the months of [June -
                                    August 2009]”.
                             iii.   If the employer (i) employed the claimant and/or (ii) offered the
                                    claimant employment during the period from April 21, 2010 - December
                                    31, 2010,39 the employer shall provide the following:

                                    1) How the employer (a) terminated the claimant’s employment,
                                       (b) reduced the claimant’s hours of work, (c) withdrew an offer of
                                       employment, (d) did not extend an offer of seasonal (partial year)
                                       employment to the claimant, or (e) otherwise reduced employee’s
                                       compensation due to or resulting from the DWH Spill with sufficient

35
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the employer should instead provide copies of any applicable required licenses for the periods (i) April
21, 2009 through April 20, 2010 and (ii) April 21, 2010 through April 20, 2011.
36
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the appropriate period is from April 21, 2009 through April 20, 2010.
37
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the appropriate period is from April 21, 2010 through April 20, 2011.
38
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the appropriate period is from April 21, 2011 through April 20, 2012.
39
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the appropriate period is from April 21, 2010 through April 20, 2011.

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                                        detail to permit the Claims Administrator to calculate the claimant’s
                                        lost hours of work and lost earnings from such employment during
                                        such period.
                                    2) A specific explanation of how (i) the reduction of claimant’s hours of
                                       work identified, or (ii) the withdrawal of, or (iii) the failure to
                                       extend, an offer of employment was due to or resulting from the
                                       DWH Spill.

                  The number of affidavits submitted by an employer on behalf of the claimant and any
                  other claimants shall be monitored by the Claims Administrator for reasonableness in
                  light of the employer’s operations. For example, it would be anticipated that a 10-room
                  motel would have approximately five full-time equivalent employees, or that a 50-seat
                  diner-style restaurant would have approximately five full-time equivalent servers.

      B. Interviews
             1. The Claims Administrator shall have the right to interview all claimants and related
                employer(s) in this Category IV claiming lost earnings of $7,500 or more and up to 25%
                of all other claimants within this Category IV and their supporting employer(s), in
                accordance with the provisions of the Addendum Regarding Interviews of Claimant
                Alleging Economic Loss.40
             2. In addition, and notwithstanding the provisions of Section IV.B.1, the Claims
                Administrator shall have the right to interview any employer who submits an Employer
                Sworn Written Statement on behalf of more claimants than the Claims Administrator
                determines is reasonable for the position for which the employer is providing the
                Employer Sworn Written Statement, in accordance with the provisions of the
                Addendum Regarding Interviews of Claimant Alleging Economic Loss.

      C. Description Of Compensation Calculation
         The Claims Administrator shall determine the Final Claimant Compensation amount based on
         the totality of the information provided by the claimant and his or her employer(s), including the
         sworn Claim Form, Claimant Sworn Written Statement, Employer Sworn Written Statement(s),
         interviews (if any), and/or any supplemental information the Claims Administrator may require
         the claimant to provide to support the claim, and/or any other information the Claims
         Administrator may determine to be relevant and reliable (collectively, the “Claim File”). The
         Claims Administrator shall rely on his assessment of the reliability and credibility of the Claim
         File information and the specifics of any claimed economic loss in determining the claimant’s
         compensation, if any, to be provided to the claimant.



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  In addition, nothing in this Framework for Individual Economic Loss Claims shall in any way limit the right and
obligation of the Claims Administrator to investigate fully all suspicions of fraudulent conduct by or on behalf of
any claimant, including but not limited to conducting any interviews and obtaining any documents the Claims
Administrator deems necessary. Any such interviews will not be included in the 25% limit set forth above.

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         Step 1: Calculate Claimant’s Lost Earnings

             In determining the claimant’s lost earnings for the Claiming Job, the Claims Administrator
             shall consider the following factors:

             1. Prior Employment History: The extent to which the Claim File establishes the
                claimant’s pre-DWH Spill employment in the Claiming Job, including the type of work
                performed, wage rate, and amount of time spent working in the Claiming Job.

             2. Post-DWH Spill Anticipated Employment: The extent to which the Claim File establishes
                the claimant’s post-DWH Spill expected employment in the Claiming Job, including the
                job description, wage rate, and amount of time claimant was expected to be employed
                in the Claiming Job during the period from April 21 through December 31, 2010,41 and
                wages expected to be earned in the Claiming Job.

             3. Post-DWH Spill Actual Employment: The extent to which the Claim File establishes the
                claimant’s actual post-DWH Spill employment in the Claiming Job, including the job
                description, wage rate, amount of time claimant actually was employed in the Claiming
                Job during the period from April 21 through December 31, 2010,42 and actual earnings in
                the Claiming Job and any other employment during that period.

             4. Lost Earnings And Causation: The extent to which the Claim File establishes (a) a
                reduction in anticipated employment and earnings in the Claiming Job during the period
                from April 21 through December 31, 2010,43 and (b) the extent to which any such
                reduction in anticipated employment and earnings was due to or resulting from the
                DWH Spill.

             5. Continued Employment in 2011: The extent to which the Claim File establishes that the
                claimant was employed in the Claiming Job or a similar job in 2011 and lived within 60
                miles of his place of employment.

         Based on the Claims Administrator’s consideration of the totality of the information above, the
         Claims Administrator shall determine the claimant’s lost earnings for the period April 21
         through December 31, 201044 up to a cap of $20,000.



41
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the Claims Administrator shall consider the extent to which the claimant has established his or her
expected post-DWH Spill employment in the Claiming Job for the period April 21, 2010 through April 20, 2011.
42
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the Claims Administrator shall consider the extent to which the claimant has established his or her
actual post-DWH Spill employment in the Claiming Job for the period April 21, 2010 through April 20, 2011.
43
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the claimant shall establish the claimant’s lost earnings for the period April 21, 2010 through April 20,
2011.
44
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the claimant shall establish the claimant’s expected post-DWH Spill employment for the period April 21,
2010 through April 20, 2011.

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    Step 2: Apply RTP, If Applicable

       Only claimants who, in 2011, (1) continued to be employed in a position the same as, or
       similar to, the Claiming Job, and (2) still lived within 60 miles of their place of employment,
       shall be eligible for an RTP of 1.

       If eligible, the claimant’s lost earnings shall be multiplied by the RTP.

    Step 3: Determine Claimant’s Compensation

       Deduct any Spill-Related Payments from the sum of Steps 1 and 2 to determine claimant’s
       compensation amount.

       Claimants under this Category IV shall not be eligible to recover Reimbursable Search Costs,
       Reimbursable Training Costs or Employment-Related Benefits Losses.

       The formula for the claimant’s compensation is:
                   Claimant’s lost earnings (not to exceed $20,000) (from Step 1)
           +       (Claimant’s lost earnings (not to exceed $20,000) x RTP (if any)) (from Step 2)
           +       One Time, Non-Recurring Event Compensation: if applicable, provided,
                   however, that in no event shall this amount exceed: ($20,000 less Claimant’s
                   lost earnings from Step 1)
           -       Spill-Related Payments (if applicable) (from Step 3)
           -       VoO Settlement Offset and/or VoO Earned Income Offset (if any)




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                                            One Time Loss Addendum

A One Time, Non-Recurring Event shall be defined as an event or sale that (i) would have occurred in
the Claiming Job between April 21, 2010 and December 31, 2010, and (ii) had not been included in the
Individual’s income from the Claiming Job in 2007, 2008 or 2009, and (iii) was canceled due to or
resulting from DWH Spill.

An Individual asserting lost earnings due to cancellation of a One Time, Non-Recurring Event must
provide documentation and establish causation as follows:

Documentation and Causation

The claimant shall provide all of the following:

    1. Copy of contract for the One Time, Non-Recurring Event scheduled to occur during the period
       April 21, 2010 and December 31, 2010, and canceled subsequent to April 21, 2010. The contract
       must indicate the date, time and details of the event.

    2. Documentation sufficient to establish the lost earnings, income or profit, to the claimant in
       respect of the One Time, Non-Recurring Event, including but not limited to a Sworn Written
       Statement by the party responsible for canceling the contract for the One Time, Non-Recurring
       Event.

    3. Documentation establishing that the lost earnings, income or profit, identified in 2 is (a) for
       claimants with more than ten sales per year in the Base Year(s), equal to or greater than 10% of
       the claimant’s earnings in the Base Year(s) from the Claiming Job, or (b) for claimants with
       fewer than ten sales per year in the Base Year(s), greater than two times the claimant’s average
       commission on all transactions in the Base Year(s) from the Claiming Job.

    4. Documentation sufficient to establish that (a) the cancellation of the One Time, Non-Recurring
       Event was due to or resulting from the DWH Spill, including but not limited to a Sworn Written
       Statement by the party responsible for canceling the contract for the One Time, Non-Recurring
       Event, and (b) the cancellation was a loss to claimant.

    5. Documentation establishing that the lost earnings, income or profit, are not duplicative of
       amounts quantified as Claimant Lost Earnings in Step 6 of the Compensation Calculation for
       Categories I, II or III.

    6. Itemized commission statements for 2007, 2008 and 2009, if applicable.

Compensation for the One Time, Non-Recurring Event

Compensation for the One Time, Non-Recurring Event shall equal the lost earnings for the One Time,
Non-Recurring Event, and no RTP shall be applicable to the corresponding loss.




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